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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


MARJORIE TAYLOR GREENE,                                    :
                                                           :
           Plaintiff,                                      :
                                                           :
           v.                                              :
                                                           :              CIVIL ACTION NO.
BRAD RAFFENSPERGER, in his                                 :              22-cv-1294-AT
official capacity as Georgia Secretary                     :
of State, et al.,                                          :
                                                           :
           Defendants.                                     :

                                         OPINION AND ORDER


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I.    INTRODUCTION

      Before the Court are Plaintiff Marjorie Taylor Greene’s Motions for

Temporary Restraining Order and Preliminary Injunction. [Docs. 4, 5.] Plaintiff’s

Complaint and Motions contest the constitutionality of Georgia’s “Challenge

Statute” as applied to Plaintiff as well as facially. The Challenge Statute allows

voters to challenge whether individual candidates in their districts meet the

requisite legal qualifications to run for their prospective positions via an

administrative proceeding before Georgia’s Office of State Administrative

Hearings (“OSAH”). Under the Challenge Statute, an OSAH administrative law

judge (“ALJ”) recommends factual and legal findings, which are then submitted

to the Georgia Secretary of State for review and final ruling. That decision in turn

may be appealed to the Superior Court of Fulton County, Georgia as well as to the

Georgia Court of Appeals or Supreme Court. O.C.G.A. § 21-2-5(e).

      This controversy began when five voters in Plaintiff’s district filed a

challenge to Plaintiff’s candidacy on March 24, 2022, triggering the OSAH

process. On April 1, Plaintiff filed this action seeking to (1) halt ongoing OSAH

proceedings initiated by the voters’ challenge and (2) enjoin the assigned ALJ and

the Secretary of State from enforcing the Challenge Statute against her. The Court

quickly scheduled an expedited briefing schedule and oral argument of several

hours’ duration that was held on April 8, 2022.

      “In this Circuit, [a] preliminary injunction is an extraordinary and drastic

remedy not to be granted unless the movant clearly established the ‘burden of


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persuasion’ as to each of the four prerequisites” for an injunction. Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (cleaned up). In assessing the

question of whether a party is entitled to injunctive relief, the Court is required to

apply rigorous standards. This case raises novel and complex constitutional

issues of public interest and import. “After a thorough analysis of the evidentiary

and legal issues presented in this complex matter involving unsettled questions of

law, the Court finds Plaintiff has not carried her heavy burden to establish a

strong likelihood of success on the legal merits in this case. Accordingly, the

Court denies the Plaintiff's Motions for Temporary Restraining Order and

Preliminary Injunction. [Docs. 4, 5.] The state proceedings under the Challenge

Statute may therefore proceed.

II.   BACKGROUND

      Plaintiff Marjorie Taylor Greene currently serves as a member of the

United States House of Representatives for Georgia’s 14th Congressional District.

(Stipulated Facts, Doc. 38 ¶ 1.) Plaintiff is running for reelection in the 2022

midterms and filed her candidacy for that election on March 7, 2022. (Id. ¶ 2.)

She then filed an amended notice of candidacy on March 10, 2022. (Id.) Two

weeks later, on March 24, five registered voters in Georgia’s 14th Congressional

District (“Intervenors” in this action) challenged Plaintiff’s qualifications to serve

as a member of Congress by filing an official challenge with the Georgia Secretary

of State’s office under O.C.G.A. § 21-2-5 (“the Challenge Statute”). The Challenge

Statute is described below.


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      In their challenge, Intervenors allege that Plaintiff “does not meet the

federal constitutional requirements for a Member of the U.S. House of

Representatives and is therefore ineligible to be a candidate for such office.” (See

Doc. 3-1, Notice of Challenge ¶ 1.) Specifically, Intervenors assert that Plaintiff

“voluntarily aided and engaged in an insurrection to obstruct the peaceful

transfer of presidential power, disqualifying her from serving as a Member of

Congress under Section 3 of the 14th Amendment . . . .” (Id.; Stipulated Facts ¶

5.) Section 3 of the Fourteenth Amendment prohibits certain individuals and

office holders, who had previously taken an oath of office to support the

Constitution of the United States, from holding federal or state office if they

“engaged in insurrection or rebellion” against the United States as follows:

      No person shall be a Senator or Representative in Congress, or
      elector of President and Vice-President, or hold any office, civil or
      military, under the United States, or under any State, who, having
      previously taken an oath, as a member of Congress, or as an officer
      of the United States, or as a member of any State legislature, or as an
      executive or judicial officer of any State, to support the Constitution
      of the United States, shall have engaged in insurrection or rebellion
      against the same, or given aid or comfort to the enemies thereof. But
      Congress may by a vote of two-thirds of each House, remove such
      disability.

U.S. Const. amend. XIV, § 3.

      Plaintiff took her oath of congressional office on January 3, 2021, when

members of the 117th Congress were sworn in. 1 Intervenors’ challenge sets forth,

in a 42-page complaint, a broad range of contextual information as to the alleged

1  See Members of the 117th Congress Sworn In, U.S. House of Representatives,
https://www.house.gov/feature-stories/2021-1-5-members-of-the-117th-congress-sworn-in
(last visited Apr. 17, 2021).


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insurrection, Plaintiff Greene’s alleged activities, and relevant legal background

and argument. (See, e.g., Notice of Challenge ¶¶ 43–45.)

      A.    The Challenge Statute and Related Procedures

      The Challenge Statute provides that “any elector” who is eligible to vote for

a candidate may “challenge the qualifications of the candidate by filing a written

complaint with the Secretary of State giving the reasons why the elector believes

the candidate is not qualified to seek and hold the public office for which he or

she is offering.” O.C.G.A. § 21-2-5(b). This challenge must be initiated within two

weeks after the deadline for candidate qualifying. Id. Upon receiving the

challenge, “the Secretary of State shall notify the candidate in writing that his or

her qualifications are being challenged and the reasons therefor.” Id.

Additionally, the Secretary of State “shall advise the candidate that he or she is

requesting a hearing on the matter before an administrative law judge of the

Office of State Administrative Hearings” and shall inform the candidate of the

date, time, and place of the hearing. Id. Although not in the statute itself, the

Georgia Supreme Court has instructed that, in the context of a challenge under

the Challenge Statute, the burden is on the candidate to affirmatively establish

her eligibility for office. Haynes v. Wells, 538 S.E.2d 430, 433 (Ga. 2000). That

said, under Georgia Regulations, an ALJ acting pursuant to O.C.G.A. §§ 50-13-13,

50-13-40(c), and 50-13-41 may determine, prior to the commencement of the

hearing, “that law or justice requires a different placement of the burden of




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proof.” See Ga. Comp. R. & Regs. R. 616-1-2-.07.2 As discussed later, the ALJ

issued a decision on April 13, 2022, shifting the burden of proof to Intervenors.

(Doc. 48-1.) The statute provides for the ALJ to report his written findings to the

Secretary of State after completion of the administrative hearing process.

O.C.G.A. § 21-2-5(b).

       At that point, the Secretary of State “shall determine if the candidate is

qualified to seek and hold the public office for which such candidate is offering.”

Id. § 21-2-5(c). If the Secretary of State determines that the candidate is not

qualified, the statute directs that he shall withhold the candidate’s name from the

ballot or strike such candidate’s name from the ballots, if the ballots have already

been printed. Id. However, as discussed further below, counsel for Defendants

represented at the Court’s April 8 oral argument that the ballots for the May

primary at issue here are already printed, that Plaintiff’s name is on the ballot,

and that it will remain on the ballot, “no ifs, ands, or buts about that.” (TRO Hr’g

Tr. (“Tr.”), Doc. 39 at 29.) The statute further provides that, if there is insufficient

time for withholding or striking a candidate’s name, “a prominent notice shall be

placed at each affected polling place advising voters of the disqualification” and

“all votes cast for such candidate shall be void and shall not be counted.” O.C.G.A.

§ 21-2-5(c).




2 Counsel for Defendants represented that ALJs have invoked this provision in the past in the
context of state candidate disqualifications related to tax delinquencies or past convictions.
(TRO Hr’g Tr. (“Tr.”) at 36.)


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       In the event the Secretary of State rules against the candidate, the

candidate “shall have the right to appeal the decision . . . by filing a petition in the

Superior Court of Fulton County within ten days after the entry of the final

decision by the Secretary of State.” Id. § 21-2-5(e) (emphasis added). The

reviewing Fulton County Superior Court may order an immediate stay of the

Secretary of State’s decision “upon appropriate terms for good cause shown.” Id.

The Fulton County Superior Court review shall be conducted without a jury and

shall be confined to the record. Id. The Challenge Statute specifically provides

that the Fulton County Superior Court may reverse or modify the Secretary of

State’s decision for various reasons including, inter alia, if the decision is in

violation of the Constitution or Georgia laws; in excess of the statutory authority

of the Secretary of State; clearly erroneous; or affected by other error of law. Id.

Finally, an aggrieved candidate may obtain review of the final judgment of the

superior court by the Court of Appeals or the Georgia Supreme Court as provided

by law. Id.; see also Cox v. Barber, 568 S.E.2d 478, 480 (Ga. 2002) (conducting

“expedited review” of candidate eligibility challenge after Secretary of State

adopted ALJ’s decision to disqualify Barber as candidate for Public Service

Commission seat based on residency requirements, and issuing opinion six days

before August 20 primary and two days after the record was transmitted to the

Georgia Supreme Court).3


3In Barber, the challenge was filed on May 11, 2002. The ALJ held a hearing on July 19, 2002,
and issued a final decision on July 30, 2002. The Secretary of State adopted that decision, to
disqualify Barber, on July 31, 2002. Barber appealed to the Fulton County Superior Court on


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       In conducting the OSAH review, the ALJ has authority to manage the

hearing, rule on motions and issues of proof, and provide for the taking of

testimony by deposition or interrogatory, as well as to impose civil penalties for a

party’s submission of pleadings or papers for an improper purpose or containing

frivolous arguments. O.C.G.A. § 50-13-41(b), § 50-13-13. The ALJ is also

authorized to dispose of motions to dismiss for lack of agency jurisdiction over

the subject matter or parties, or “for any other ground.” O.C.G.A. § 50-13-13. In

line with ordinary OSAH procedures, the ALJ must issue a decision — including

findings of fact and conclusions of law — to all parties within 30 days after the

close of the record. Id. § 50-13-41(c). Upon review of the ALJ’s decision, the

Secretary of State has 30 days to reject or modify such decision. Id. § 50-13-

41(d)(3). However, as evident in the Barber case, as well as the events that have

transpired in this case so far, these proceedings frequently move far more rapidly

than provided for by the OSAH statutory provisions.

       B.     Intervenors’ Challenge and the OSAH Proceedings Thus
              Far

       Here, Intervenors filed their challenge of Plaintiff’s candidacy on March

24, 2022. That same day, the Secretary of State’s office referred the challenge to

OSAH and sent notice of the challenge to Plaintiff. (Stipulated Facts ¶¶ 4, 6.)

Notice was sent to the email address that Plaintiff provided in her corrected

August 6, 2002, and the Fulton County Superior Court reversed the Secretary of State’s decision
the next day in an order issued on August 7, 2002. The Secretary of State appealed to the
Georgia Supreme Court on August 9, 2002, and the record in the case was submitted to that
Court on August 12. The Georgia Supreme Court decided the case on August 14, six days before
the primary. See McDonald v. Barber, OSAH-ELE-CE-0300328-78-WJB (Ga. Office of State
Admin. Hearings July 30, 2002); Barber, 568 S.E.2d at 478.


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candidate qualifying forms, which she submitted on March 10. (Id.) However, the

email address that Plaintiff used on her candidacy filing forms was one that

Plaintiff claims was not regularly checked. (Compl., Doc. 3 ¶ 30 n.1; see also

Declaration of Steven Ellis, Doc. 36-1 ¶ 3, Ex. A.) As a result, Plaintiff alleges that

she did not receive actual notice of the challenge to her candidacy until March 31,

2022. (Compl. ¶ 30 n.1.)

      Upon referral by the Secretary of State, OSAH assigned Administrative Law

Judge Charles R. Beaudrot to hear the challenge. (Stipulated Facts ¶ 6.) In the

OSAH proceeding, Intervenors filed a notice to produce documents and a motion

to take Plaintiff’s deposition on March 28, 2022. (Docs. 3-2, 3-3.) Two days later,

on March 30, ALJ Beaudrot ordered Plaintiff to respond to Intervenors’ notice

and motion by April 4 at 12:01 p.m. (OSAH Order Shortening Time Period, Doc.

9; Stipulated Facts ¶ 8.) Plaintiff alleges that she did not receive these filings until

March 31 because the candidacy forms that she had executed and signed included

the incorrect email address. (Compl. ¶¶ 35–36.)

      On April 3, Plaintiff filed in the OSAH proceeding a motion to dismiss the

challenge, a motion to stay Plaintiff’s deposition, and objections to Intervenors’

notice to produce documents. (Stipulated Facts ¶ 9.) The next day, April 4, ALJ

Beaudrot denied Intervenors’ motion to take Plaintiff’s deposition. (Id. ¶ 10.) On

April 5, ALJ Beaudrot held a prehearing conference call during which he (1)

ordered Intervenors to respond to Plaintiff’s objections to the notice to produce

documents by 5:00 p.m. on April 7; (2) ordered Intervenors to respond to


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Plaintiff’s motion to dismiss by 11:00 a.m. on Monday, April 11; and (3) indicated

that he had not yet ruled on Plaintiff’s objections to the notice to produce

documents. (Id. ¶ 11.) ALJ Beaudrot then scheduled a hearing for April 13, 2022.

(Id. ¶ 12.) On Monday, April 11, 2022, ALJ Beaudrot held a conference with

Plaintiff and Intervenors and continued the hearing from April 13 to either April

19 or April 22, 2022, to accommodate Plaintiff’s schedule. (Intervenors’ Notice,

Doc. 41.) On Tuesday, April 12, the parties confirmed with this Court that the

OSAH hearing had been re-set for Friday, April 22 at 9:30 a.m. (Intervenors’

Second Notice, Doc. 46.)

       Subsequently, on April 13, 2022, ALJ Beaudrot issued a substantive

Prehearing Order. (Prehearing Order, Doc. 48-1.) In the Prehearing Order, ALJ

Beaudrot first confirmed that the OSAH hearing had been rescheduled for April

22, 2022, to accommodate Plaintiff’s schedule. (Id. at 1.) He then overruled

Plaintiff’s objection to the April 22 hearing being live streamed 4 and denied

Plaintiff’s motion to quash, instead ordering that Plaintiff remain subject to

subpoena for the April 22 hearing. (Id. ¶¶ 1–2.) Next, in response to a motion in

limine filed by Plaintiff, ALJ Beaudrot ordered that the burden of proof in the

OSAH proceeding would be on Intervenors, not on Plaintiff. (Id. ¶ 3) (citing

OSAH Rule 616-1-2.07, which allows an ALJ to shift the burden of proof when

justice so requires). He added: “Justice does not require [Plaintiff] to ‘prove a

4  As the ALJ noted, conducting live streamed public hearings is consistent with the State’s
administrative rules. (Prehearing Order at 3.) (“These policies are embodied in OSAH Rule 616-
1-2-.43, and the Uniform Rules for the Superior Courts to which OSAH Rule 616-1-2-.43
refers.”).


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negative.’ Justice in this setting requires that the burden of proof is on

[Intervenors] to establish that [Plaintiff] is disqualified . . . .” (Id.)

       In addition, ALJ Beaudrot reserved ruling on Plaintiff’s motion in limine as

to evidentiary objections, pending receipt of a more detailed list of Plaintiff’s

particular objections. (Id. ¶ 4.) ALJ Beaudrot also reserved ruling on Plaintiff’s

motion to dismiss until after the hearing and clarified that, like any other court,

OSAH judges “are required to follow and apply the Constitution.” (Id. ¶¶ 5–6.) He

further noted that, in this respect, OSAH judges may make findings that a

Georgia statute or regulation is inconsistent with the Constitution by employing

accepted canons and methods of statutory interpretation. (Id. ¶ 6) Additionally,

ALJ Beaudrot indicated that an OSAH judge may not declare a statute

unconstitutional, though he may develop the record on issues of constitutional

validity in presenting the record to the Secretary of State. (Id.) Finally, the

Prehearing Order emphasizes the important interest at stake in this proceeding,

both to the public at large and to the particular litigants. (Id. ¶ 5.) The Order also

acknowledges the necessity of swift action and expeditious, but thorough, review

of Intervenors’ challenge in light of the election context and impending primary

deadline. (Id.)

       C.     The Instant Lawsuit

       After receiving actual notice of Intervenors’ challenge on March 31,

Plaintiff filed the instant Complaint, emergency motion for temporary restraining

order (“TRO”), and motion for preliminary injunction in this Court on Friday,


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April 1, 2022. (Docs. 3, 4, 5.) In her Complaint, Plaintiff asserts claims under the

First and Fourteenth Amendments (Counts I and II), Article I, Section 5 of the

U.S. Constitution (Count III), and the 1872 Amnesty Act (Count IV).

      In Count I, Plaintiff alleges that the provision of the Challenge Statute

“triggering a government investigation based only upon a Challenger’s belief” —

here, that Plaintiff engaged in an insurrection — violates Plaintiff’s First

Amendment right to run for political office. (Compl. ¶ 59.) Count II alleges that

the Challenge Statute as applied here violates the Fourteenth Amendment’s Due

Process Clause because it places the burden on the candidate to prove that she

did not engage in an insurrection in response only to a challenger’s belief. (Id. ¶

65.) In Count III, Plaintiff alleges that the Challenge Statute violates Article I,

Section 5 of the U.S. Constitution because it permits the State of Georgia to make

its own independent evaluation of whether a candidate is qualified to serve in the

U.S. House of Representatives, thereby usurping Congress’s constitutional

responsibilities under Article I, Section 5, which instructs that each House “shall

be the Judges of the Elections, Returns and Qualifications of its own Members.”

(Id. ¶¶ 68, 71.) Finally, in Count IV, Plaintiff alleges a violation of the 1872

Amnesty Act. (Id. ¶¶ 72–77.) The 1872 Amnesty Act removed the “political

disability” imposed by Section 3 of the Fourteenth Amendment, as follows:

      [A]ll political disabilities imposed by the third section of the
      fourteenth article of amendments of the Constitution of the United
      States are hereby removed from all persons whomsoever, except
      Senators and Representatives of the thirty-sixth and thirty-seventh
      Congresses, officers in the judicial, military, and naval service of the


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       United States, heads of departments, and foreign ministers of the
       United States.

See Act of May 22, 1872, ch. 193, 17 Stat. 142 (1872).5 Accordingly, in Count IV,

Plaintiff alleges that application of Section 3 of the Fourteenth Amendment6 to

bar her from candidacy violates the 1872 Amnesty Act. (Compl. ¶¶ 72–77.) Counts

I, II, and III are brought under 42 U.S.C. § 1983. As pled, Count IV is brought

directly under the 1872 Amnesty Act.

       The same day Plaintiff filed her lawsuit, on April 1, counsel for Intervenors

notified the Court’s deputy by telephone that they intended to file a motion to

intervene. The motion to intervene was filed the next business day on Monday,

April 4, 2022. (Doc. 13.) The Court ordered an expedited briefing schedule as to

Plaintiff’s motions for a TRO and preliminary injunction and scheduled oral

argument for Friday, April 8. (See First April 4 Docket Entry; see also Order

Directing Proposed Intervenors to Respond to TRO, Doc. 15.) The Court also

ordered expedited briefing on the motion to intervene. (See Second April 4

Docket Entry.)

       Upon review of the motion to intervene and Plaintiff’s response in

opposition to that motion, the Court granted the motion on April 7. (Doc. 33.)

The Court then heard arguments from all parties as to Plaintiff’s emergency



5 Congress passed a second Amnesty Act in 1898. See Act of June 6, 1898, ch. 389, 30 Stat. 432
(“[T]he disability imposed by section three of the Fourteenth Amendment to the Constitution of
the United States heretofore incurred is hereby removed.”).
6 As noted above, Section 3 of the Fourteenth Amendment prohibits an individual from serving

as a representative in Congress if, after having previously taken an oath to support the
Constitution, he or she engages in insurrection or rebellion against the United States.


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motion for a TRO and motion for preliminary injunction in open court on Friday,

April 8, 2022.

       As to the expected timeline, counsel for Defendants represented at oral

argument that the “ballot build deadline” for the May 24, 2022 primary has

already passed, that absentee ballots for the primary have already been printed,

and that Plaintiff’s name is on the ballots. (Tr. at 29.) According to Defendants,

Plaintiff could “renounce her U.S. citizenship and she is still going to appear on

the printed absentee ballots” and “is still going to appear on the ballot marking

devices.” (Id.) Plaintiff did not dispute this assertion or provide any evidence to

the contrary.

       As noted, after oral argument on April 8, the Court received notice on the

docket that the OSAH hearing, previously set for April 13, had been continued to

April 22. (Intervenors’ Notices, Docs. 41, 46.) Given the additional time available

for the Court to rule prior to the commencement of the OSAH hearing, the Court

requested limited supplemental briefing from the parties pertaining to the issues

of Younger abstention and the ALJ’s authority to shift the burden of proof in a

challenge proceeding. (Doc. 47.) The parties submitted the requested briefs on

April 14, 2022, and also attached the April 13 OSAH Prehearing Order discussed

thoroughly above. Accordingly, Plaintiff’s motions are now ripe for resolution.

III.   PRELIMINARY INJUNCTION LEGAL STANDARD

       Before a court will grant a motion for emergency injunctive relief, such as a

TRO or a preliminary injunction, the moving party must establish that: (1) she


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has a substantial likelihood of success on the merits; (2) she will suffer

irreparable injury if the relief is not granted; (3) the threatened injury outweighs

the harm the relief may inflict on the non-moving party; and (4) entry of relief

would not be adverse to the public interest. KH Outdoor, LLC v. City of

Trussville, 458 F.3d 1261, 1268 (11th Cir. 2006); see also McDonald’s Corp. v.

Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998).

       A TRO or preliminary injunction is “an extraordinary and drastic remedy.”

Siegel, 234 F.3d at 1176; see also Texas v. Seatrain Int’l, S.A., 518 F.2d 175, 179

(5th Cir. 1975) (explaining that “granting a preliminary injunction is the

exception rather than the rule” and that a preliminary injunction is “an

extraordinary and drastic remedy”).7 A court is authorized to grant such

extraordinary injunctive relief only when the moving party “clearly establishe[s]

the burden of persuasion as to each of the four prerequisites.” Siegel, 234 F.3d at

1176 (internal quotation marks omitted). A showing of irreparable injury is “‘the

sine qua non of injunctive relief.’” Id. (citing Ne. Fla. Chapter of the Ass’n of Gen.

Contractors v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)).

Therefore, even if the moving party establishes a likelihood of success on the

merits, the absence of a substantial likelihood of irreparable injury would make

any preliminary injunctive relief improper. Id. The irreparable injury asserted by




7 The Eleventh Circuit, in Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
banc), adopted decisions of the Fifth Circuit rendered prior to October 1, 1981, as precedent in
the Eleventh Circuit.


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the moving party “must be neither remote nor speculative, but actual and

imminent.” Id.

IV.    THRESHOLD PROCEDURAL AND JURISDICTIONAL ISSUES

       Before turning to the merits, the Court must first address three important

threshold issues: (1) whether Plaintiff has standing to pursue her claims and

whether her claims are ripe; (2) whether Plaintiff has a cause of action to bring

her claim under the 1872 Amnesty Act; and (3) whether the Court should decline

to exercise jurisdiction in this case under the Younger abstention doctrine.

       A.     Standing and Ripeness

       In response to Plaintiff’s motions, Defendants argue that Plaintiff lacks

Article III standing and that her claims are not yet ripe. (Defs.’ Opp’n, Doc. 22 at

14–16.) Specifically, Defendants contend that Plaintiff “has not shown that the

factual predicate for her alleged injury — namely, her potential disqualification —

has sufficiently materialized,” and thus her injury is “entirely conjectural and

hypothetical” at this point, as neither the ALJ nor the Secretary of State has ruled

to disqualify her. (Id.) At the April 8 oral argument, Intervenors stated that they

do not contest Plaintiff’s ability to demonstrate standing with respect to Counts I,

II, or III.8 In reply, Plaintiff contends that she has suffered concrete,

particularized injury in being subject to the Challenge Statute via an allegedly

unconstitutional process. (Reply, Doc. 32 at 2–3.)



8However, Intervenors argue that the Court does not have jurisdiction to address Count IV, as
discussed further in Section IV.B. (Tr. at 48.)


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      Under Article III of the Constitution, a federal court’s jurisdiction is limited

to “Cases” and “Controversies.” U.S. Const., art. III, § 2. “To establish Article III

standing, a plaintiff must show (1) an injury in fact, (2) a sufficient causal

connection between the injury and the conduct complained of, and (3) a

likelihood that the injury will be redressed by a favorable decision.” Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 157–58 (2014) (cleaned up) (quoting

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)).

      At issue here is the first requirement: injury in fact. This requirement

ensures that a plaintiff has a “personal stake in the outcome of the controversy.”

Id. at 158 (citing Warth v. Seldin, 422 U.S. 490, 498 (1975)). To meet this first

requirement, an injury must be “concrete, particularized, and actual or

imminent.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). “[A]n

allegation of future injury may suffice if the threatened injury is ‘certainly

impending,’ or there is a ‘substantial risk’ that the harm will occur.” Susan B.

Anthony, 573 U.S. at 158 (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414

n.5 (2013)). When an individual is subject to threatened enforcement of a law,

“an actual arrest, prosecution, or other enforcement action is not a prerequisite to

challenging the law.” Id. (“[W]e have permitted pre-enforcement review under

circumstances that render the threatened enforcement sufficiently imminent.”).

A threatened administrative proceeding, for example, may give rise to harm

sufficient to justify pre-enforcement review. Id. at 165; see also Steffel v.

Thompson, 415 U.S. 452, 458–60 (1974) (holding that reasonable threat of


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prosecution for conduct allegedly protected by Constitution gives rise to

sufficiently ripe controversy).

       Under this logic, the Supreme Court explained in Ohio Civil Rights

Commission v. Dayton Christian Schools, Inc. that “[i]f a reasonable threat of

prosecution creates a ripe controversy,” it necessarily follows that the “actual

filing of [an] administrative action threatening sanctions” does as well. 477 U.S.

619, 625–26 n.1 (1986) (“It is true that the administrative body may rule

completely or partially in appellees’ favor; but it was equally true that the

plaintiffs in Steffel and Doran may have prevailed had they in fact been

prosecuted.”); see also Babbitt v. United Farm Workers Nat’l Union, 442 U.S.

289, 302 n.13 (1979) (“[T]he prospect of issuance of an administrative cease-and-

desist order . . . or a court-ordered injunction . . . against such prohibited conduct

provides substantial additional support for the conclusion that appellees’

challenge . . . is justiciable.”).

       The same is true here. Like in Ohio Civil Rights Commission, “an

administrative action threatening sanctions” has already commenced. 477 U.S. at

625–26 n.1. Indeed, Plaintiff has responded to motions and discovery requests in

the OSAH proceeding concerning the challenge to her candidacy and has even

filed a motion to dismiss of her own. Further, the potential consequences of an

adverse ruling in the administrative proceeding here are serious. Plaintiff is at

risk of losing her ability to run for a congressional position. Citizens have a

constitutionally protected right, though limited, to run for public office. Cook v.


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Randolph Cnty., 573 F.3d 1143, 1152 (11th Cir. 2009). Plaintiff has therefore

alleged a “concrete, particularized, and actual or imminent” injury sufficient to

demonstrate standing to pursue her claims related to Georgia’s Challenge Statute

and the OSAH process generally.

      B.     Does Plaintiff Have a Cause of Action to Bring a Claim
             Under the 1872 Amnesty Act and Does the Court Have
             Jurisdiction to Address this Claim Under Count IV?

      At oral argument, Intervenors argued that the Court does not have

jurisdiction to address Count IV as pled because the 1872 Amnesty Act does not

create a private right of action. (Tr. at 48, 76.) Plaintiff responded that Count IV

is brought via 42 U.S.C. § 1983, which allows a plaintiff to bring a claim under the

federal Constitution or laws. (Id. at 77.)

      Federal courts are courts of limited jurisdiction. Univ. of S. Ala. v. Am.

Tobacco Co., 168 F.3d 405, 409 (11th Cir. 1999) (noting that federal courts are

“empowered to hear only those cases within the judicial power of the United

States as defined by Article III of the Constitution and which have been entrusted

to them by a jurisdictional grant authorized by Congress”) (internal quotation

marks omitted). For this reason, “a court should inquire into whether it has

subject matter jurisdiction at the earliest possible stage in the proceedings.” Id. at

410 (“Indeed, it is well settled that a federal court is obligated to inquire into

subject matter jurisdiction sua sponte whenever it may be lacking.”). “The burden

for establishing federal subject matter jurisdiction rests with the party bringing




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the claim.” Sweet Pea Marine, Ltd. v. APJ Marine, Inc., 411 F.3d 1242, 1247 (11th

Cir. 2005).

      Here, the Complaint asserts federal jurisdiction under 28 U.S.C. §§ 1331

and 1343(a)(3). (Compl. ¶ 5.) Section 1331 provides district courts with original

jurisdiction over civil actions arising under the Constitution, laws or treaties of

the United States. 28 U.S.C. § 1331. Section 1343(a)(3) provides district courts

with jurisdiction over a civil action to redress the deprivation, under color of any

state law or statute, of any right, privilege, or immunity secured by the

Constitution or by any act of Congress. 28 U.S.C. § 1343(a)(3).

      However, these jurisdictional statutes do not create a private right of action

for the violation of any federal law. See Jairath v. Dyer, 154 F.3d 1280, 1282 (11th

Cir. 1998) (“Such federal-question jurisdiction [under § 1331] may be based on a

civil action alleging a violation of the Constitution, or asserting a federal cause of

action established by a congressionally created expressed or implied private

remedy for violations of a federal statute.”) (emphasis added); Storey v. Rubin,

976 F. Supp. 1478, 1483 (N.D. Ga. 1997) (“Federal courts have federal question

subject matter jurisdiction under [Section 1331] only when Congress explicitly or

implicitly has created a private right of action independent of [Section 1331]

supporting a given plaintiff’s claim.”). The Court must therefore ask whether

Congress intended to create a private remedy for violations of the 1872 Amnesty

Act. Loc. Div. 732, Amalgamated Transit Union v. MARTA, 667 F.2d 1327,




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1333–34 (11th Cir. 1982) (explaining that the concepts of federal subject matter

jurisdiction and implied rights of action are “inextricably intertwined”).

      In circumstances where a plaintiff asserts a claim directly under a federal

statute and that statute does not afford a private right of action, federal courts

have explained that they lack jurisdiction. See, e.g., Acara v. Banks, 470 F.3d

569, 572 (5th Cir. 2006) (“We hold there is no private cause of action under

HIPAA and therefore no federal subject matter jurisdiction over Acara’s asserted

claims”); Abner v. Mobile Infirmary Hosp., 149 F. App’x 857, 858–59 (11th Cir.

2005) (finding that “[t]he Medicare Act does not create a private right of action

for negligence,” and thus “the district court properly found that jurisdiction did

not exist in this case”).

      At the April 8 oral argument, Plaintiff argued that Count IV was brought

via Section 1983. But first, Count IV, as alleged, is brought directly under the

1872 Amnesty Act, not Section 1983. Second, Section 1983 does not itself create a

private right of action. See Williams v. Bd. of Regents of Univ. Sys. of Ga., 477

F.3d 1282, 1299 (11th Cir. 2007) (explaining that “Section 1983 is merely a

vehicle by which to bring” suits against those acting under color of state law for

deprivation of any rights, privileges, or immunities secured by the Constitution

and laws). As the Supreme Court has instructed, “[a] court’s role in discerning

whether personal rights exist in the § 1983 context should . . . not differ from its

role in discerning whether personal rights exist in the implied right of action

context.” Gonzaga Univ. v. Doe, 536 U.S. 273, 285 (2002) (citing Golden State


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Transit Corp. v. Los Angeles, 493 U.S. 103, 107–08 (1989) (explaining that “[a]

claim based on a statutory violation is enforceable under § 1983 only when the

statute creates ‘rights, privileges, or immunities’ in the particular plaintiff”)).

“Both inquiries simply require a determination as to whether or not Congress

intended to confer individual rights upon a class of beneficiaries.” Id. at 285–

86(citing California v. Sierra Club, 451 U.S. 287, 294 (1981) (“The question is not

simply who would benefit from the Act, but whether Congress intended to confer

federal rights upon those beneficiaries”)). Ultimately, “where the text and

structure of a statute provide no indication that Congress intends to create new

individual rights, there is no basis for a private suit, whether under § 1983 or

under an implied right of action.” Id. at 286.

      Therefore, a cause of action would only lie under the 1872 Amnesty Act

itself. However, Plaintiff has made no argument that the 1872 Amnesty Act itself

confers an explicit or implied private right of action. Whether a federal statute

creates an implied private right of action and a private remedy involves a complex

assessment of the statutory text and structure to determine whether Congress

intended to create a private right. See Alexander v. Sandoval, 532 U.S. 275, 288–

89 (2001).

      Here, the parties have not briefed the novel issue as to whether the 1872

Amnesty Act creates a private right that may serve as the basis for a private suit

and whether the Court has jurisdiction to entertain a claim brought under this

Act. The Court finds it unwise to wade into these uncharted waters without


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briefing or a concrete understanding of what, if any, legal moorings exist for

Plaintiff’s position. This is especially so as the Court sees no basis at this

preliminary juncture to find that the 1872 Amnesty Act was intended to create

enforceable individual legal rights of action that could be asserted in the federal

courts, as opposed to merely authorizing the removal of the “disability” incurred

by a subset of the identifiable former office holders who, by the terms of Section 3

of the Fourteenth Amendment, were disqualified from serving in Congress as of

1872. Plaintiff has therefore not carried her burden to establish that the Court has

jurisdiction over her 1872 Act claim. Sweet Pea Marine, 411 F.3d at 1247.

Nevertheless, the Court may still consider certain arguments Plaintiff has made

regarding the 1872 Act in the context of Plaintiff’s remaining constitutional

claims.

      C.      Federal Court Abstention under the Younger Doctrine

      Having determined that Plaintiff has standing to maintain her claims

alleged in Counts I through III and that those claims are ripe for adjudication, the

Court next considers whether it should, as Defendants and Intervenors argue,

decline to exercise its jurisdiction to hear this case under the Younger abstention

doctrine.

      This abstention doctrine originates from the Supreme Court’s holding in

Younger v. Harris, 401 U.S. 37 (1971). In Younger, the Supreme Court held that,

under “the basic doctrine of equity jurisprudence,” federal courts should not act

to restrain ongoing criminal prosecutions in state courts, provided that “the


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moving party has an adequate remedy at law and will not suffer irreparable injury

if denied equitable relief.”9 Id. at 43–44. This principle of equitable restraint

serves the interest of “avoid[ing] a duplication of legal proceedings and legal

sanctions where a single suit would be adequate to protect the rights asserted.”

Id. at 44. As the Supreme Court explained in Younger, the rationale for

restraining courts of equity from interfering with ongoing criminal prosecutions

is also reinforced by a consideration of comity, that is:

       a proper respect for state functions, a recognition of the fact that the
       entire country is made up of a Union of separate state governments,
       and a continuance of the belief that the National Government will
       fare best if the States and their institutions are left free to perform
       their separate functions in their separate ways.

Id. This concept, which “is referred to by many as ‘Our Federalism,’ . . . does not

mean blind deference to ‘States’ Rights’ any more than it means centralization of

control over every important issue in our National Government and its courts.”

Id.

       Because the same concern for “comity and federalism” is “equally

applicable to certain other pending state proceedings,” the Supreme Court

extended the Younger abstention doctrine to other types of state civil

proceedings “in which important state interests are involved.” Ohio Civil Rights

Comm’n, 477 U.S. at 627. Despite this prior extension, the Supreme Court has

more recently narrowed Younger’s domain, cautioning that “[a]bstention is not

9 Unlike standing and ripeness, the Younger abstention doctrine “does not arise from lack of
jurisdiction in the District Court, but from strong policies counseling against the exercise of such
jurisdiction where particular kinds of state proceedings have already been commenced.” Ohio
Civil Rights Comm’n, 477 U.S. at 626.


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in order simply because a pending state-court proceeding involves the same

subject matter.” Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013).10

Rather, circumstances fitting within the Younger doctrine are “exceptional” and

only apply to the three specific categories of state proceedings identified in

Sprint: (1) “state criminal prosecutions,” (2) “civil enforcement proceedings” akin

to criminal prosecutions, and (3) “civil proceedings involving certain orders that

are uniquely in furtherance of the state court’s ability to perform their judicial

functions.” Id. at 73 (quoting New Orleans Pub. Serv., Inc. v. Council of City of

New Orleans (“NOPSI”), 491 U.S. 350, 367–68 (1989)). In Sprint, the Supreme

Court emphasized that, “a federal court’s ‘obligation’ to hear and decide a case is

‘virtually unflagging,’” and “[p]arallel state-court proceedings do not detract from

that obligation.” Id. at 77.

       After a federal court finds that state-court proceedings fall into one of these

three exceptional categories, and only after that determination, “additional

factors” must be considered by the federal court to determine whether abstention

is appropriate. Barone v. Wells Fargo Bank, N.A., 709 F. App’x 943, 948 (11th

Cir. 2017) (quoting Sprint, 571 U.S. at 81). The federal court must apply the

“Middlesex factors” and consider whether the state proceeding (1) constitutes an

ongoing state judicial proceeding that (2) implicates important state interests and

(3) provides an adequate opportunity to raise federal challenges. Id. (citing

10See Smith & Wesson Brands, Inc. v. Att’y Gen. of N.J., 27 F.4th 886, 890 (3d Cir. 2022)
(explaining that, in the years that followed Younger, “federal courts expanded [the doctrine] and
abstained too frequently, so the Supreme Court reined in that expansion,” and “has since
consistently narrowed abstention doctrines, including Younger”).


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Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432

(1982)).

       When all three Middlesex factors are satisfied, a federal court should

abstain from interfering with ongoing state proceedings absent a showing that (1)

the state proceeding was initiated in bad faith or for the purpose of harassment;

(2) the challenged statute is “flagrantly and patently unconstitutional;” or (3)

other extraordinary circumstances render abstention inappropriate. Middlesex,

457 U.S. at 437.11

       Although the parties in this case focus on whether the three Middlesex

factors are satisfied, they devote little attention to whether this case falls into any

of the three categories in which Younger abstention could apply as identified by

the Supreme Court in Sprint. Plaintiff does not dispute Defendants’ and

Intervenors’ contention that this case falls into Sprint’s third category, but that

certainly is not dispositive. The Court has an independent obligation to

determine whether this case does in fact fall into one of the three categories in

which Younger abstention could potentially apply. As the Supreme Court

observed in Sprint, “abstention is not warranted whenever these so-called


11See, e.g., Dombrowski v. Pfister, 380 U.S. 479, 489–90 (1965) (finding that abstention was
inappropriate where the plaintiffs alleged that the State was abusing its legislative power and
criminal processes in order to harass and humiliate plaintiffs, without any hope of ultimate
success in the prosecutions but instead to discourage plaintiffs’ civil rights activities); Gibson v.
Berryhill, 411 U.S. 564, 577 (1973) (finding that Younger abstention did not apply where district
court determined that state tribunal was “incompetent by reason of bias to adjudicate the issues
pending before it”); Younger, 401 U.S. at 53–54 (acknowledging that it was “of course
conceivable that a statute might be flagrantly and patently violative of express constitutional
prohibitions in every clause, sentence, and paragraph, and in whatever manner and against
whomever an effort might be made to apply it”) (internal quotation marks omitted).


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Middlesex factors are met.” Barone, 709 F. App’x at 948. If courts did not limit

the application of Younger to “the three types of exceptional proceedings which

define Younger’s scope,” it “would extend Younger to virtually all parallel state

and federal proceedings, at least where a party could identify a plausibly

important state interest.” Id. (quoting Sprint, 571 U.S. at 81–82). Such a result is

“irreconcilable with the general rule ‘that, even in the presence of parallel state

proceedings, abstention from the exercise of federal jurisdiction is the exception,

not the rule.’” Id.

       Keeping in mind these important directives, the Court turns to the question

of whether Younger abstention applies to this case. To answer that question, the

threshold issue the Court must first address is whether this case falls within one

of the three exceptional categories of cases identified by the Supreme Court in

Sprint. The underlying state proceeding is unquestionably not a criminal

prosecution; thus, the first category plainly does not apply. The Court therefore

focuses its analysis on whether the state proceeding at issue falls within Sprint’s

second and third categories.

                      1. Sprint Category Two: Civil Proceedings Akin to
                         Criminal Prosecutions

       A state civil proceeding is generally akin to a criminal prosecution when it

constitutes an “enforcement action” initiated to sanction the federal plaintiff for a

“wrongful act.” Sprint, 571 U.S. at 79; see also Watson v. Fla. Jud. Qualifications

Comm’n, 618 F. App’x 487, 490 (11th Cir. 2015). The Supreme Court cited several

past examples of such state enforcement actions in Sprint. See Ohio Civil Rights

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Comm’n, 477 U.S. 619 (abstaining where case involved state-initiated

administrative proceedings to enforce state civil rights laws); Moore v. Sims, 442

U.S. 415, 419–20 (1979) (abstaining where case involving state-initiated

proceeding to gain custody of children allegedly abused by their parents);

Trainor v. Hernandez, 431 U.S. 434, 444 (1977) (abstaining where underlying

civil proceeding was “brought by the State in its sovereign capacity” to recover

welfare payments defendants had allegedly obtained by fraud); Huffman v.

Pursue, Ltd., 420 U.S. 592, 598 (1975) (abstaining where state proceeding was

initiated to enforce civil obscenity laws).

      Such “enforcement actions” are typically initiated by the State in its

sovereign capacity, and the State acts as a party in the proceeding. Sprint, 571

U.S. at 79. These civil enforcement actions also often involve a formal

investigation and a complaint filed at the end of the investigation. Sprint, 571

U.S. at 79 (citing Ohio Civil Rights Comm’n, 477 U.S. at 624, and Middlesex, 457

U.S. at 433). In applying Sprint, courts of appeals have also considered “whether

the State could have alternatively sought to enforce a parallel criminal statute.”

ACRA Turf Club, LLC v. Zanzuccki, 748 F.3d 127, 138 (3d Cir. 2014) (citing

Huffman, 420 U.S. at 604 (describing the civil proceeding at issue as “closely

related to criminal statutes which prohibit the dissemination of obscene

materials”)); see also Smith & Wesson Brands, Inc. v. Att’y Gen. of N.J., 27 F.4th

886 (3d Cir. 2022); Minn. Living Assistance, Inc. v. Peterson, 899 F.3d 548 (8th

Cir. 2018).


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      Recent cases in which appellate courts have abstained under the second

Sprint category illustrate the category’s requirements of (1) a state-initiated

proceeding which is (2) brought after a state investigation (3) to sanction or

punish misconduct. See, e.g., Watson, 618 F. App’x at 490–91 (affirming a

district court’s determination that a Florida Judicial Qualifications Commission’s

proceeding was akin to a criminal prosecution because “it sought to punish” a

judge for her alleged unethical actions and was “initiated and prosecuted” by a

state actor); Gonzalez v. Waterfront Comm’n of N.Y. Harbor, 755 F.3d 176, 182

(3d Cir. 2014) (finding that proceeding brought by Waterfront Commission of the

New York Harbor was akin to a criminal prosecution where Commission first

suspected that the plaintiff engaged in perjury, investigated the falsity of the

statements, and then initiated disciplinary hearing to sanction the plaintiff for his

“wrongful” conduct); Herrera v. City of Palmdale, 918 F.3d 1037 (9th Cir. 2019)

(holding that a nuisance action was akin to a criminal prosecution where the City

executed an inspection warrant, identified violations of state and local laws on a

motel property, and then initiated an action for nuisance abatement); Doe v.

Univ. of Ky., 860 F.3d 365, 370 (6th Cir. 2017) (holding that a university’s

disciplinary proceeding was akin to a criminal prosecution where pubic

university initiated proceeding, was a party to the proceeding, and the “case . . .

involved a filed complaint, an investigation, notice of the charge, and the

opportunity to introduce witnesses and evidence”).




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       The parties here did not address Younger’s second category in their initial

briefing. However, at the Court’s April 8 oral argument, Defendants asserted that

the state proceeding at issue may “very well be an arguably quasi criminal

proceeding.” (Tr. at 35.) Also at oral argument, Plaintiff described the state

proceeding as depriving Plaintiff of protections generally afforded in the criminal

context, such as the requirement that an individual may not be subject to

prosecution absent a showing of probable cause, or the concept that an individual

is innocent until proven guilty. (Id. at 8–10.) In light of these arguments, the

Court requested additional briefing on this issue. In those supplemental briefs,

both Plaintiff and Defendants clarified that they do not believe that the state

proceeding here falls in the second category. 12 Defendants in particular stated

that the state proceeding here is not akin to a criminal prosecution because: (1)

the challenge was initiated by Intervenors, not the State; (2) the State is the

referring agency, not a party to the proceeding; and (3) there has been no agency

investigation. (Defs.’ Suppl. Br., Doc. 48 at 4.) The Court also notes that ALJ

Beaudrot stated in his Prehearing Order that “the Secretary of the State is the

referring agency and is not a party to the hearing in this matter. The Secretary of

State is not appearing or participating in this matter.” (Prehearing Order ¶ 3.)

       In light of this representation from the State itself that it is not pursuing a

post-investigation enforcement proceeding against Plaintiff for wrongdoing,


12Intervenors argued in their supplemental brief that the lower proceeding is akin to a criminal
prosecution because it seeks to sanction — i.e., disqualify — a candidate who does not meet the
qualifications. (Intervenors’ Suppl. Br., Doc. 49 at 2–3.)


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combined with the representation from ALJ in the underlying proceeding that

the State is not in fact a party to the matter, it is readily apparent that the state

proceeding below is not encompassed within the second category of cases to

which Younger abstention applies.

                   2. Sprint Category Three: Civil Proceedings
                      Implicating a State’s Interest in Enforcing Orders
                      and Judgments of its Courts

      Under the third category, federal courts may abstain when there is a “civil

proceeding[] involving certain orders . . . that are uniquely in furtherance of the

state courts’ ability to perform their judicial functions.” Sprint, 571 U.S. at 78

(quoting NOPSI, 491 U.S. at 368). Put another way, this category covers state

proceedings that “implicate a State’s interest in enforcing the orders and

judgments of its courts.” Id. at 70 (internal citation omitted) (emphasis added).

As articulated in Sprint, the seminal examples of civil proceedings that fall within

this third category are Juidice v. Vail, 430 U.S. 327 (1977) and Pennzoil Co. v.

Texaco, Inc., 481 U.S. 1 (1987).

      In Juidice, the primary plaintiff had been held in contempt by a county

court justice and sought to enjoin county justices’ future use of statutory

contempt procedures, arguing that New York’s contempt statute was

unconstitutional. 430 U.S. at 329–30. A three-judge district court agreed and

enjoined enforcement of the contempt procedures on the basis that the statute

violated the Fourteenth Amendment. Id. at 331. Upon review, the Supreme Court

reversed, finding that the district court should have abstained under the Younger


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doctrine. The Juidice Court reasoned that Younger’s reach extended to cases “in

which the State’s contempt process is involved” because “[t]he contempt power

lies at the core of the administration of a State’s judicial system.” Id. at 335–36

n.12 (explaining that the contempt process “stands in aid of the authority of the

judicial system, so that its orders and judgments are not rendered nugatory”). In

so holding, the Juidice Court articulated a third Younger category separate from

the first category of criminal proceedings and the second category of civil

proceedings akin to criminal prosecutions. Id. at 335.

      The Supreme Court later reinforced and reaffirmed this third category in

Pennzoil. There, Pennzoil sued Texaco in Texas state court, and a jury rendered a

verdict against Texaco. 481 U.S. at 5–6. Before the trial court entered judgment,

Texaco filed suit in federal district court, seeking to enjoin Pennzoil from taking

any action to enforce the judgment. Id. Texaco specifically argued that Texas’s

procedures related to the posting of appeals bonds were unconstitutional. Id. at

6. The Supreme Court held that the district court should have abstained under

the principles articulated in Juidice because “[b]oth Juidice and this case involve

challenges to the processes by which the State compels compliance with the

judgments of its courts.” Id. at 13–14; see also id. at 14 (“Not only would federal

injunctions in such cases interfere with the execution of state judgments, but they

would do so on grounds that challenge the very process by which those

judgments were obtained.”) (emphasis added).




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      Thus, the holdings in both Juidice and Pennzoil rest upon the rationale

that federal courts should abstain where an injunction would interfere with a

state court’s ability to perform its judicial functions — specifically, its authority to

enforce orders and judgments. Relying on this rationale, courts of appeals have

held that Younger abstention similarly applies in cases where plaintiffs seek

federal injunctions requiring the recusal of state-court judges. See Aaron v.

O’Connor, 914 F.3d 1010, 1017 (6th Cir. 2019) (“We conclude that the ability of

the courts of the State of Ohio to determine when recusal of a judge or justice is

appropriate and to administer the recusal decision process in accordance with

state law operates uniquely in furtherance of the state courts’ ability to perform

their judicial functions.”) (internal quotation marks omitted) (collecting cases);

see also Shapiro v. Ingram, 207 F. App’x 938, 940 (11th Cir. 2006) (finding that

abstention was appropriate where plaintiff sought to overturn state court judge’s

failure to recuse herself as well as her contempt finding, noting that injunction

would have required district court to direct state court judge “to reverse her prior

rulings, effectively telling the state court how to run its contempt proceeding”).

      The Eleventh Circuit has also invoked this third category where the

plaintiffs sought to enjoin a state court from imposing sanctions and costs against

them based on the terms of a settlement agreement reached after court-ordered

mediation. See Dandar v. Church of Scientology Flag Serv. Org., Inc., 619 F.

App’x 945, 948 (11th Cir. 2015) (“For the district court to address claims that

question the manner in which a state court handles the enforcement of its orders


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would directly cause the federal court to interfere with a state court’s

administration of its duties.”).

      Beyond these contexts — suits seeking to enjoin state court contempt

orders, final judgments, or other enforcement orders, and suits seeking to force

recusal — appellate courts have been hesitant to find Younger’s third category

applicable. See, e.g., Smith & Wesson, 27 F.4th at 895 (holding that Younger’s

third category did not apply because state court order directing Smith & Wesson

to comply with subpoena did not constitute an order “uniquely in furtherance” of

the state court’s ability to perform its judicial functions given that Smith &

Wesson had already complied with subpoena) (“If a threat of contempt were all

that was required to trigger abstention, we would have to abstain whenever there

was a pending civil proceeding since the contempt power is generally available to

enforce court orders”) (emphasis in original); Elna Sefcovic, LLC v. TEP Rocky

Mountain, LLC, 953 F.3d 660, 671–72 (10th Cir. 2020) (finding that category

three did not apply where intervenors had filed motion in state court proceeding

asking court to issue order requiring that defendant be held in contempt for

violating settlement agreement but no contempt order had been issued) (“[B]oth

Juidice and Pennzoil involved requests to directly or indirectly thwart state court

compliance processes”); Cavanaugh v. Geballe, 28 F.4th 428, 434 (2d Cir. 2022)

(finding Younger’s third category inapplicable where plaintiff sought to enjoin

Connecticut commissioner from asserting lien on estate funds, finding that

probate court’s order recognizing lien did not “lie[] at the core of the


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administration of a State’s judicial system,” nor did it implicate “a process that

aids the state court’s core ability to function or force the parties to comply with its

order”) (internal quotation marks and citation omitted).

       In the present case, Defendants argue that this third category — for

proceedings that are “uniquely in furtherance of the state courts’ ability to

perform their judicial functions” — applies here because Plaintiff “seeks to stop

and have this Court interfere with Georgia’s unique judicial process of ensuring

that only candidates that meet the statutory and constitutional qualifications for

office are placed on the ballot.” (Defs.’ Opp’n at 8). Defendants further contend

that the State has a “constitutional duty in ensuring that qualified candidates are

placed on ballots,” and so this case falls within the realm of exceptional cases that

fall within Sprint’s third category. (Id. at 9.) In subsequent briefing, Defendants

reiterated these arguments, adding that it is the “exclusive jurisdiction of the

state judiciary to resolve election contests.” (Defs.’ Suppl. Br. at 5.) Plaintiff did

not, in briefing or at oral argument, contend that this third category was

inapplicable.13

       Nevertheless, having conducted its own review of the matter, the Court

finds that the state proceeding below does not fall into Sprint’s third category as

it neither “implicate[s] a State’s interest in enforcing the orders and judgments of

its courts” nor involves orders “uniquely in furtherance of the state courts’ ability

to perform their judicial functions.” Sprint, 571 U.S. at 70. First, in seeking to

13Intervenors also do not mention the three categories articulated in Sprint in their opposition
brief.


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enjoin the ongoing proceeding below, there has been no state court “order” that

has been violated. Plaintiff does not seek to enjoin a contempt order, a sanctions

order, or some other court judgment or process “by which the State compels

compliance with the judgments of its courts.” Pennzoil, 481 U.S. at 13–14. And

this Court’s involvement in the matter would not render any judgment or order of

a state court “nugatory.” Juidice, 430 U.S. at 336 n.12. Second, although

Defendants argue that the third category applies because Plaintiff “attempts to

enjoin the administration of one aspect of the state judicial system,” that is true

virtually any time a plaintiff seeks to enjoin a parallel state proceeding in

furtherance of an administrative enforcement scheme. Granted, the State has

established a unique judicial process for reviewing disqualification decisions

under the specific statute at issue, but accepting this as a rationale to abstain

would run afoul of Sprint’s principle that “even in the presence of parallel state

proceedings, abstention from the exercise of federal jurisdiction is the exception,

not the rule.” Sprint, 571 U.S. at 81–82 (internal quotation marks omitted).

Additionally, Defendants have not provided any legal authority in which federal

courts have abstained in the face of a state court proceeding comparable to the

one at issue in the instant case.

      The conclusion that abstention is inappropriate here is inescapable even

though Defendants, as representatives of the State of Georgia, undoubtedly have

a great interest and a duty to ensure that only qualified candidates are placed on

the ballot. If federal courts were required to abstain from resolving federal


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questions every time an ongoing state proceeding implicated an important state

interest, Younger’s scope would extend to “virtually all parallel state and federal

proceedings, at least where a party could identify a plausibly important state

interest.” Barone, 709 F. App’x at 948 (quoting Sprint, 571 U.S. at 81) (internal

quotation marks and citation omitted).

      In sum, Plaintiff does not seek to thwart any state court compliance

process and thus does not seek to enjoin a proceeding uniquely in furtherance of

a state court’s ability to perform its judicial functions, such that this Court’s

assessment of Plaintiff’s federal claims would render a state court order or

judgment void. Juidice, 430 U.S. at 336 n.12. As a result, this case does not fall

into the narrow class to which Younger abstention applies. The Court therefore is

obligated to “hear and decide [the] case” on the merits. Sprint, 571 U.S. at 77.

Although the Court has found abstention inappropriate, the State challenge

proceedings may continue, given the Court’s determination that no injunctive

relief is warranted in the instant case at this time.

V.    PLAINTIFF’S SUBSTANTIVE CLAIMS AND                        MOTION       FOR
      PRELIMINARY INJUNCTION

      A.     Plaintiff’s First      and     Fourteenth   Amendment        Claims
             [Counts I and II]

      In her first two Counts, Plaintiff argues that the Challenge Statute violates

the First and Fourteenth Amendments — on its face, in the case of her First

Amendment claim, and as applied to her, in the case of her Fourteenth

Amendment due process claim. Specifically, Plaintiff contends that running for



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office is an activity protected by the First Amendment and that Defendants’

enforcement of the Challenge Statute against her forces her into a burdensome

process without probable cause. Plaintiff argues that the Challenge Statute is

facially unconstitutional because it triggers this process based on the challenger’s

mere “belief” that a candidate lacks the requisite qualifications. Plaintiff also

contends that the challenge process violates the Due Process Clause of the

Fourteenth Amendment as applied to her because it places the burden of proof

on her to establish that she possesses the requisite qualifications for Congress. In

this case, Plaintiff contends that this means she must “prove the negative” that

she did not engage in an insurrection in violation of her oath as a member of

Congress for purposes of Section 3 of the Fourteenth Amendment. As explained

below, resolving these claims requires the Court to address not only the

constitutional burdens that Plaintiff alleges are imposed by Defendants’

enforcement of the Challenge Statute and the alleged state interests that could

potentially justify those burdens, but also whether those potential justifications

have been eliminated by the 1872 Amnesty Act.

       As Plaintiff raises her First and Fourteenth Amendment claims in a ballot

access context, the claims must be analyzed under the framework outlined by the

Supreme Court in Anderson v. Celebrezze, 460 U.S. 780, 788 (1983) and Burdick

v. Takushi, 504 U.S. 428, 433 (1992).14 The Court will therefore analyze Plaintiff’s



14Although Plaintiff’s claims technically pertain to her right to appear on the ballot rather than
the right to vote, the Supreme Court has “minimized the extent to which voting rights cases are


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First and Fourteenth Amendment claims together under the Anderson/Burdick

framework.15 Under this framework, “the Court must weigh the character and

magnitude of the burden the State’s rule imposes on those rights against the

interests the State contends justify that burden, and consider the extent to which

the State’s concerns make the burden necessary.” Common Cause Ga. v. Kemp,

347 F. Supp. 3d 1270, 1292 (N.D. Ga. 2018).

       To apply this test, the Court must first “weigh the character and magnitude

of the burden the State’s rule imposes” to determine the appropriate level of

scrutiny. Curling v. Raffensperger, 403 F. Supp. 3d 1311, 1336 (N.D. Ga. 2019)

(citing Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997), and

Burdick, 504 U.S. at 434); see also Democratic Exec. Comm. of Fla. v. Lee, 915

F.3d 1312, 1319 (11th Cir. 2019); Stein v. Ala. Sec’y of State, 774 F.3d 689, 694

(11th Cir. 2014) (“[T]he level of the scrutiny to which election laws are subject

varies with the burden they impose on constitutionally protected rights — [l]esser

burdens trigger less exacting review.”) (internal quotation marks omitted).

Second, if a law severely burdens the right to vote, the Court must consider

whether the law was narrowly drawn to serve a compelling state interest.

Burdick, 504 U.S. at 434; Lee, 915 F.3d at 1318. But “reasonable,


distinguishable from ballot access cases.” Burdick, 504 U.S. at 438 (citing Bullock v. Carter, 405
U.S. 134, 143 (1972)).
15 Unlike Defendants, Intervenors argue that Plaintiff’s procedural due process claim should be

evaluated under the three-part balancing test articulated by the Supreme Court in Matthews v.
Eldridge, 424 U.S. 319 (1976) instead of under the Anderson/Burdick test. But as Defendants
point out, the Eleventh Circuit clarified in New Georgia Project v. Raffensperger that the
Anderson/Burdick framework applies to procedural due process claims in the ballot access
context. 976 F.2d 1278, 1282 (11th Cir. 2020).


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nondiscriminatory restrictions” that impose a minimal burden may be warranted

by “the State’s important regulatory interests.” Common Cause/Ga. v. Billups,

554 F.3d 1340, 1352 (11th Cir. 2009) (citing Anderson, 460 U.S. at 788). “And

even when a law imposes only a slight burden on the right to vote, relevant and

legitimate interests of sufficient weight still must justify that burden.” Lee, 915

F.3d at 1318–19 (citing Billups, 554 F.3d at 1352).

      In applying this test to the circumstances presented here, the Court will

first consider the character and magnitude of the burdens that Defendants’

enforcement of the Challenge Statute imposes on Plaintiff’s constitutional rights.

Then, the Court will balance those burdens against Defendants’ interest in

enforcing the Challenge Statute to ensure that only qualified candidates appear

on the ballot. Finally, the Court will address whether any interest Defendants

have in enforcing the Challenge Statute based on the qualification contained in

Section 3 of the Fourteenth Amendment has been effectively eliminated by the

1872 Amnesty Act on Plaintiff’s theory that the 1872 Act renders Section 3 of the

Fourteenth Amendment inapplicable to her.

                   1. Anderson/Burdick Step 1

      The Court begins by addressing the significance of the burden on Plaintiff’s

constitutionally protected rights. As an initial matter, a candidate’s right to

appear on the ballot does not rise to the level of a fundamental constitutional

right, nor does a challenge to a candidate’s qualifications necessarily equate to a

severe burden on that candidate’s First Amendment rights. See Clements v.


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Fashing, 457 U.S. 957, 963 (1982) (“Far from recognizing candidacy as a

‘fundamental right,’ we have held that the existence of barriers to a candidate's

access to the ballot ‘does not of itself compel close scrutiny.’” (quoting Bullock v.

Carter, 405 U.S. 134, 143 (1972)); see also Timmons, 520 U.S. at 359 (“That a

particular individual may not appear on the ballot as a particular party’s

candidate does not severely burden that party’s associational rights.”). But in this

case, Plaintiff contends that the specific process she must go through to establish

her qualifications imposes a severe burden on her First and Fourteenth

Amendment rights.

      As noted, Plaintiff argues that the Challenge Statute’s burden of proof

requires her to prove a negative and thereby burdens her constitutionally

protected rights. In support of this argument, Plaintiff principally relies on

Speiser v. Randall, 357 U.S. 513 (1958). The plaintiffs in Speiser were honorably

discharged World War II veterans who sought to claim property tax exemptions

under California law. Id. at 515–16. Importantly, one of the forms the plaintiffs

were required to fill out to claim their exemptions contained an oath stating,

      ‘I do not advocate the overthrow of the Government of the United
      States or of the State of California by force or violence or other
      unlawful means, nor advocate the support of a foreign Government
      against the United States in event of hostilities.’

Id. at 515. Each of the plaintiffs claimed the exemption but refused to sign the

oath. Id. As a consequence, the plaintiffs’ local tax assessors denied the

exemptions. Id. The assessors’ decisions to deny the exemptions were based on a



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provision of California law providing that, “[i]f the assessor believes that the

claimant is not qualified in any respect, he may deny the exemption and require

the claimant, on judicial review, to prove the incorrectness of the determination.”

Id. at 517. Although the Supreme Court took no position on the constitutional

validity of the oath itself, it found that the application of the burden of proof on

the taxpayer in these proceedings violated the taxpayers’ due process rights.

      In invalidating this procedure, the Supreme Court observed, “When the

State undertakes to restrain unlawful advocacy it must provide procedures which

are adequate to safeguard against infringement of constitutionally protected

rights.” Id. at 520–21. The Court determined that the procedures at issue in the

tax proceedings were deficient because “[n]ot only does the initial burden of

bringing forth proof of nonadvocacy rest on the taxpayer, but throughout the

judicial and administrative proceedings the burden lies on the taxpayer of

persuading the assessor, or the court, that he falls outside the class denied the tax

exemption.” Id. at 522. The Court emphasized that even though it is “familiar

practice in the administration of a tax program for the taxpayer to carry the

burden of introducing evidence to rebut the determination of the collector,” this

same procedure violates due process “when the purported tax was shown to be in

reality a penalty for a crime.” Id. at 524–25. The Court explained that the

“underlying rationale” for removing the burden from the taxpayer who seeks the

exemption in this circumstance is that “where a person is to suffer a penalty for a




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crime he is entitled to greater procedural safeguards than when only the amount

of his tax liability is in issue.” Id. at 525. The Court emphasized,

      Where one party has at stake an interest of transcending value—as a
      criminal defendant his liberty—this margin of error is reduced as to
      him by the process of placing on the other party the burden of
      producing a sufficiency of proof in the first instance, and of
      persuading the factfinder at the conclusion of the trial of his guilt
      beyond a reasonable doubt.

Id. at 525–26. In other words,“[w]here the transcendent value of speech is

involved, due process certainly requires in the circumstances of this case that the

State bear the burden of persuasion to show that the appellants engaged in

criminal speech.” Id. at 526. Therefore, in the context of Speiser, the Court found

that it was a violation of due process to require the taxpayer to “sustain the

burden of proving the negative.” Id.

      Plaintiff argues that here, just like in Speiser, it is unconstitutional to

require her to “prov[e] the negative” that she did not engage in insurrection and

that she is therefore qualified to run for Congress. In spite of these apparent

similarities, the Court finds Speiser distinguishable based both on its facts and

the current posture of this case.

      For one thing, although Plaintiff has at least a limited interest in being able

to run for office, as previously noted, Plaintiff’s interest in appearing on the ballot

does not rise to the level of a fundamental right. Clements, 457 U.S. at 963;

Timmons, 520 U.S. at 359. And it certainly does not rise to the level of a citizen’s

interest in avoiding potential criminal jeopardy — i.e., a criminal defendant’s



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interest in his liberty — based on unrelated possible political activity or beliefs in

the course of applying for a tax credit. Further, as Intervenors’ counsel pointed

out at oral argument, it is not clear why Plaintiff cannot meet the initial burden to

prove the negative by simply submitting an affidavit stating under oath that she

did not engage in an insurrection or addressing the allegations in the challenge

that are focused on her own activities. At that point, the burden would shift to the

challengers to rebut that evidence, unlike in Speiser, where “throughout the

judicial and administrative proceedings the burden lie[d] [with] the taxpayer of

persuading the assessor, or the court, that he falls outside the class denied the tax

exemption.” 357 U.S. at 522.

      But even if the burden of proof were to be deemed constitutionally

problematic in this context, as Defendants’ counsel noted, Georgia Regulations

authorize the ALJ to shift the burden away from Plaintiff if it is necessary to do so

in the interest of justice. See Ga. Comp. R. & Regs. § 616-1-2-.07(2) (“Prior to the

commencement of the hearing, the Court may determine that law or justice

requires a different placement of the burden of proof.”). In fact, the ALJ

overseeing Plaintiff’s proceeding has already done this in his Prehearing Order,

issued on April 13, 2022, by granting Plaintiff’s motion in limine to shift the

burden of proof to the challengers. (See Prehearing Order at 4–5.) Therefore, at

least insofar as Plaintiff raises an as-applied challenge to her specific proceeding,

any concerns about the constitutionality of the burden of proof are at this point a

nullity. And if the Challenge Statute does not impose a severe burden as applied


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to Plaintiff, logically, it also would not impose a severe burden on all candidates

on its face, as the State regulations authorize shifting of the burden of proof as

appropriate. See Wash. State Grange v. Wash. State Republican Party, 552 U.S.

442, 449 (2008) (“[A] plaintiff can only succeed in a facial challenge by

‘establish[ing] that no set of circumstances exists under which the Act would be

valid,’ i.e., that the law is unconstitutional in all of its applications.” (quoting

United States v. Salerno, 481 U.S. 739, 745 (1987))).

       At this point, the only potential burden on Plaintiff’s First Amendment

rights is the burden of simply having to go through the challenge process itself.

Plaintiff argues that the Challenge Statute is unconstitutional because it triggers a

proceeding in which she must respond to a citizen’s challenge that can be based

solely on “a written statement why he or she believes the Candidate is disqualified

from running for office.” (Compl. ¶ 57.) In turn, she complains that the citizen’s

expression of “mere ‘belief’ is not enough to infringe on the fundamental right

concerned.”16 (Id. ¶ 58.) However, Plaintiff’s claim here wholly ignores citizens’

own First Amendment rights to file complaints regarding the operation of the

electoral process that the Challenge Act recognizes. Further, as discussed earlier,

the ALJ is authorized under governing Georgia law to dismiss a complaint on any

ground. O.C.G.A. § 50-13-13(a)(6). Indeed, a hearing officer clearly would not

only be authorized to dismiss a frivolous challenge but also to impose civil

penalties for a party’s submission of pleadings or papers for an improper purpose

16This argument is raised is tandem with the burden of proof claim, which the Court has already
addressed above as it applies to this case.


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or containing frivolous arguments. O.C.G.A. § 50-13-41(b). In short, Plaintiff’s

argument on this ground holds no water.

       Relying on Alexis, Inc. v. Pinellas County, Florida, 194 F. Supp. 2d 1336

(M.D. Fla. 2002), Plaintiff further argues that subjecting her to the proceeding

without a threshold showing of probable cause violates her First Amendment

rights in the same way that “a peaceful protestor’s rights would be violated if

arrested based upon a reasonable suspicion.” (Doc. 4 at 4.) However, the Court

finds both Alexis and Plaintiff’s attempted analogy inapposite given that Plaintiff

has not been subject to arrest or criminal prosecution. Cf. 194 F. Supp. 2d at

1347–48 (holding that “the Sheriff's deputies were constrained by the Fourth

Amendment standard of probable cause to arrest only those persons violating the

ordinances in their presence” and “the actions of the Sheriff's Department in

arresting dancers for whom there was probable cause for arrest did not present

an impermissible prior restraint in violation of the First Amendment”).17

       Moreover, as Intervenors note, the challenge process at issue here does not

appear particularly burdensome given that it “consists of a streamlined

administrative hearing under Georgia’s ordinary rules of administrative

procedure.” (Intervenors’ Opp’n, Doc. 30 at 10–11.) And Plaintiff cites no case law

in support of the proposition that a challenge process such as this one is overly


17The Supreme Court has also explained that certain procedural protections — protection from
self-incrimination, double jeopardy protection, and the standard of proof beyond a reasonable
doubt — are limited to criminal defendants and criminal cases. United States v. Ward, 448 U.S.
242, 248 (1980). See also Foucha v. Louisiana, 504 U.S. 71, 93 (1992) (Kennedy, J., dissenting)
(noting that criminal cases are afforded “heightened due process scrutiny”).


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burdensome. Instead, Plaintiff merely speculates that there could potentially be

delays in resolving the challenge. At oral argument, Plaintiff’s counsel suggested

that it could take many weeks or months to complete the challenge process, and

by that point, ballots would already be printed, the primary election would

already be over, and Plaintiff’s chances to become the Republican nominee for

Georgia’s 14th Congressional District would be all but eliminated. Counsel also

contended that regardless of how short (or long) the review process actually took,

it would be almost impossible to complete the appellate review process before the

May 24 primary. But all evidence points to the contrary.

       First, as a practical matter, Defendants represented at oral argument that

the ballots for the May 24 primary have already been printed and that Plaintiff’s

name is listed on the ballots. (Tr. at 29) (“She is [] going to appear on the printed

absentee ballots. She is [] going to appear on the ballot-marking devices.”). In

light of this reality, Plaintiff’s hypothetical argument that adjudication in the state

proceeding might prevent Plaintiff from being included on the absentee ballot is

not a viable contention. Rather, as Defendants explained at oral argument, the

only question about the status of Plaintiff’s candidacy moving forward is whether

the votes cast for her on those ballots will ultimately be counted.18


18 Plaintiff’s counsel also suggested at oral argument that the challenge proceeding could
infringe upon the rights of Plaintiff’s supporters to cast their votes for Plaintiff as the candidate
of their choice. Admittedly, “the rights of candidates do not lend themselves to neat separation”
and “laws that affect candidates always have at least some theoretical, correlative effect on
voters.” Bullock, 405 U.S. at 142–43. Nevertheless, assuming arguendo that Plaintiff would have
standing to bring such a claim, Plaintiff’s voters still would not have a First Amendment right to
vote for a disqualified candidate. See Rhoden v. Athens-Clarke Cnty. Bd. of Elections, 850
S.E.2d 141, 149 (Ga. 2020) (holding that “the application of a policy voiding votes cast for a dead


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       Also of practical import, all evidence before the Court indicates that

Defendants are making significant efforts to resolve this matter expeditiously in

the state proceeding. The Secretary of State referred the case to OSAH the same

day that Intervenors filed their challenge. The assigned ALJ has acted with speed

— ruling on motions quickly and ordering an expedited briefing and hearing

schedule. Indeed, ALJ Beaudrot ruled on Intervenors’ motion to depose Plaintiff

one day after receiving Plaintiff’s response to said motion. And in his recently

issued prehearing order, he stated, “As an election case, this proceeding must be

expedited so that this litigation does not interfere with an orderly and properly

conducted election.” (Prehearing Order at 6.) Importantly, Defendants’ counsel

also emphasized at oral argument that resolving this matter quickly is in the

State’s interest.

       The procedure outlined in the Challenge Statute provides further support

for Defendants’ representation — and the evidence to date suggesting — that the

review process in this matter will be seriously expedited. The text of the statute


candidate does not violate the right to vote under the First Amendment and the Fourteenth
Amendment any more than it would violate the rights of an individual who wanted to vote for
someone otherwise disqualified from appearing on the ballot or assuming office”). “The right to
vote does not include the right to vote in any manner, or the right to vote for a specific
individual, and it may be subject to qualification since states have an interest in protecting the
integrity of the election process[.]” 25 Am. Jur. 2d Elections § 98 (footnote omitted); see
Citizens for Legislative Choice v. Miller, 144 F.3d 916, 921 (6th Cir. 1998) (finding that “[a]
voter has no right to vote for a specific candidate”). That said, in recognition of the fact that “[i]n
approaching candidate restrictions, it is essential to examine in a realistic light the extent and
nature of their impact on voters,” Bullock, 405 U.S. at 143, the Court acknowledges that some
voters may fear that their votes will be wasted if they vote for a candidate whom they believe —
rightly or not — may be disqualified, and that this could potentially dissuade these voters from
casting their ballots for the candidate of their choice. But Plaintiff has presented no evidence to
that effect at this preliminary stage, and it is unclear whether these claims would fall within the
scope of Plaintiff’s Complaint as currently pled.


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itself states that an appeal of the Secretary of State’s determination must be made

to the Superior Court of Fulton County within just 10 days. O.C.G.A. § 21-2-5(e).

And as Defendants’ counsel stated at oral argument, “There is a concerted effort

on the part of all of the State judiciary to remove any uncertainty prior to the

certification period to ensure a smooth application of the election process.” (Tr.

at 42–43.)

       The case Cox v. Barber, 568 S.E.2d 478 (Ga. 2002), is illustrative. See also

McDonald v. Barber, OSAH-ELE-CE-0300328-78-WJB (Ga. Office of State

Admin. Hearings July 30, 2002). In that case, a candidate for a Public Service

Commission seat, J. Mac Barber, faced a residency challenge to his qualifications.

In response to this challenge, Barber raised a constitutional defense that the

residency requirement violated the Equal Protection Clause of the Constitution.

The ALJ held a hearing on July 19, 2002 and issued a decision eleven days later,

on July 30, 2002.19 The Secretary of State adopted the ALJ’s decision to

disqualify Barber the next day, July 31, 2002. Barber then filed a complaint in the

Superior Court of Fulton County on August 6, and the Fulton County Court

issued its decision reversing the Secretary of State on August 7, 2002. The

Secretary of State then appealed the decision on August 9, 2002, and the record

was transmitted to the Georgia Supreme Court on August 12, 2002. The Georgia

Supreme Court issued its opinion a mere two days later on August 14, 2002. The


19A review of the timeline in Barber indicates that the challenge was filed on May 11, 2002, but
the hearing did not occur until July 19, 2002. There is no concern of a similar delay in the
present case, as ALJ Beaudrot has scheduled the OSAH hearing for Friday, April 22, 2022.


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entire review process in Barber – from the hearing before the ALJ to the issuance

of the decision by the Georgia Supreme Court — was expeditious.

       In short, all evidence points to the conclusion that swift resolution is likely

in this case. Plaintiff has presented no evidence — and provided this Court with

no reason to believe — that the challenge to her candidacy will be treated with

any delay.20 What is more, as long as the resolution is quick, and the challenge to

the candidate’s qualifications are nonfrivolous, there is nothing constitutionally

impermissible about requiring a candidate to respond to a notice of challenge,

especially now that the ALJ has shifted the burden of proof to the challengers.

       Under the circumstances, the Court fails to see how the challenge process

qualifies as a severe burden on Plaintiff’s First and Fourteenth Amendment

rights. This is especially so considering that, in recent years, the U.S. Supreme

Court and courts in this Circuit have repeatedly rejected claims by other

candidates and voters who have similarly asserted that a state’s various

procedural hurdles to accessing the ballot placed a severe burden on their

constitutional rights.

       For example, in Crawford v. Marion County Election Board, the Supreme

Court held that Indiana’s requirement for voters to obtain a photo ID as a

prerequisite for voting imposed “only a limited burden” on voters’ access to the

ballot. 553 U.S. 181, 202–03 (2008). The Eleventh Circuit followed suit the

20 The Court also notes that on April 11, 2022, Plaintiff requested a two-week extension in the
administrative hearing proceedings based on her own scheduling needs. The hearing officer
granted this request. The request is reasonable but does not reflect the concerns about urgency
in resolution of this matter that are raised in Plaintiff’s briefs and her counsel’s oral argument.


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following year in Common Cause/Georgia. v. Billups, when it found Georgia’s

requirement that “every voter who casts a ballot in person [] produce an

identification card with a photograph of the voter” did not pose a significant

burden on voters who lack photo identification. 554 F.3d 1340, 1345, 1354 (11th

Cir. 2009). More recently, in Cowen v. Secretary of State of Georgia, the

Eleventh Circuit found Georgia’s requirement that third party and independent

candidates obtain petition signatures from “a number of voters equal to 5% of the

total number of registered voters eligible to vote in the last election for the office”

did not impose a severe burden for purposes of the Anderson/Burdick analysis.

22 F.4th 1227, 1230 (11th Cir. 2022). The court reached that conclusion even

though the candidates at issue only had a 180-day period in which to collect

signatures — which had to be supported by a notarized affidavit from the petition

circulator — and the candidates were also required to submit either a filing fee or

a pauper’s affidavit. Id. Similarly, in New Georgia Project v. Raffensperger, 976

F.2d 1278 (11th Cir. 2020), the Eleventh Circuit found that the Georgia Secretary

of State’s refusal to extend the deadline for accepting absentee ballots during the

2020 general election did not impose a severe burden on voters’ access to the

ballot — in spite of the inherent risks of voting in person in the midst of the

COVID-19 pandemic and the well-documented delays in processing mail through

the postal service — because voters could still “take reasonable steps and exert

some effort to ensure that their ballots are submitted on time.” Id. at 1282. And

another judge in this district held last year that the Georgia’s “use it or lose it”


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voter-list-maintenance process did not impose a severe burden on the right to

vote because the steps voters had to take to avoid being removed from the voter

rolls imposed “no more than ordinary burdens” on voters’ access to the ballot.

Fair Fight Action, Inc. v. Raffensperger, No. 18-cv-5391, slip op. at 54 (N.D. Ga.

Mar. 31, 2021).

       The common theme from these cases is that “[b]urdens are severe if they

go beyond the merely inconvenient.”21 Crawford, 553 U.S. at 205 (Scalia, J.,

concurring). And at this stage, all Plaintiff has shown is that it would be

“inconvenient” for her to have to go through the challenge process established by

Georgia    law.   That    is   not   enough       to   establish   a   severe   burden     at

Anderson/Burdick’s first step. As such, the Court finds that Plaintiff has not

established a severe burden on her First and Fourteenth Amendment rights for

purposes of Anderson/Burdick’s first step.

                     2. Anderson/Burdick Step 2

       Absent Plaintiff’s showing of a severe burden, to survive a constitutional

challenge on Anderson/Burdick grounds, Defendants would have to show that

enforcing the qualifications of Section 3 of the Fourteenth Amendment through

the process laid out in the Challenge Statute is justified by the State’s important

regulatory interests in restricting ballot access to qualified candidates.


21The Court does not intend any specific commentary on any of the aforementioned cases other
than the obvious — they all reach the same conclusion that the existence of procedural hurdles
to accessing that ballot does not by itself establish a severe burden for purposes of
Anderson/Burdick’s first step absent other evidence reflecting additional substantive burdens.
In accordance with that precedent, the Court must reach that same conclusion here.


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      Consistent with the State’s obligations under Article I, Section 4, which

charges it with regulating the time, place, and manner of elections, as Defendants

note, the State has an “important and well-established interest in regulating

ballot access and preventing fraudulent or ineligible candidates from being

placed on the ballot.” (Defs.’ Opp’n at 25); see Bullock, 405 U.S. at 145 (noting

that “a State has an interest, if not a duty, to protect the integrity of its political

processes from frivolous or fraudulent candidacies”); Hassan v. Colorado, 495 F.

App’x 947, 948 (10th Cir. 2012) (Gorsuch, J.) (noting that “a state’s legitimate

interest in protecting the integrity and practical functioning of the political

process permits it to exclude from the ballot candidates who are constitutionally

prohibited from assuming office”); Rhoden v. Athens-Clarke Cnty. Bd. of

Elections, 310 Ga. 266, 274–76 (2020) (finding that the State’s legitimate interest

in administering a fair and efficient election justifies discarding of votes for a

deceased or disqualified candidate and does not violate the right to vote under

the First and Fourteenth Amendments). And as the Supreme Court noted in

Anderson, “[I]t is both wasteful and confusing to encumber the ballot with the

names of frivolous candidates.” 460 U.S. at 788 n.9; see also Burdick, 504 U.S. at

440 n.10 (“It seems to us that limiting the choice of candidates to those who have

complied with state election law requirements is the prototypical example of a

regulation that, while it affects the right to vote, is eminently reasonable.”).

      In order to advance these important state interests, the State also has a

legitimate interest in proceeding with the specific statutory process it has


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established to ensure that only qualified candidates appear on the ballot. (See

Defs.’ Opp’n at 2) (“As part of the orderly administration of elections, Georgia law

requires that candidates be qualified in advance of an election and provides a

process by which eligible voters or the Secretary of State may challenge the legal

qualifications of any candidate before any voter casts a ballot.”); (see also Tr. at

42) (“The State has a legitimate interest in proceeding with the State process

through its culmination to determine and ensure that only qualified candidates . .

. occupy the ballot in Georgia.”). Generally speaking, advancing these important

State regulatory interests would easily justify any minimal burden on Plaintiff’s

First and Fourteenth Amendment rights.

      On the other hand, the State would not have a legitimate regulatory

interest in imposing nonexistent qualifications on candidates for federal office.

And Plaintiff contends that this is exactly what Defendants are attempting to do

here by putting her through a proceeding involving Section 3 of the Fourteenth

Amendment — a provision that Plaintiff claims no longer is extant or applies. The

Court considers this argument below.

                    3. The Disqualification Provision of Section 3 of the
                       Fourteenth Amendment and the 1872 Amnesty Act

      As previously noted, Section 3 of the Fourteenth Amendment prohibits

certain individuals and office holders, who have previously taken an oath of office

to support the Constitution of the United States, from holding federal or state

office if they “engaged in insurrection or rebellion” against the United States. This

provision specifically states:

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      No person shall be a Senator or Representative in Congress, or
      elector of President and Vice-President, or hold any office, civil or
      military, under the United States, or under any State, who, having
      previously taken an oath, as a member of Congress, or as an officer
      of the United States, or as a member of any State legislature, or as an
      executive or judicial officer of any State, to support the Constitution
      of the United States, shall have engaged in insurrection or rebellion
      against the same, or given aid or comfort to the enemies thereof. But
      Congress may by a vote of two-thirds of each House, remove such
      disability.

U.S. Const. amend. XIV, § 3. Plaintiff argues that this provision was rendered

inoperative by the passage of the 1872 Amnesty Act, which, according to Plaintiff,

removed the “political disabilities” imposed by Section 3 of the Fourteenth

Amendment for anyone who engaged in insurrection or rebellion thereafter. This

Act provides:

      [A]ll political disabilities imposed by the third section of the
      fourteenth article of amendments of the Constitution of the United
      States are hereby removed from all persons whomsoever, except
      Senators and Representatives of the thirty-sixth and thirty-seventh
      Congresses, officers in the judicial, military, and naval service of the
      United States, heads of departments, and foreign ministers of the
      United States.

See Act of May 22, 1872, ch. 193, 17 Stat. 142 (1872).

      Importantly, the Fourteenth Amendment was passed and ratified in the

years following the Civil War, and when the 39th Congress convened in

December of 1865, “Senators and elected Representatives from the ex-

Confederate States showed up ready to take their seats,” thereby “infuriat[ing]

most Republicans in Congress.” See Gerard N. Magliocca, Amnesty and Section

Three of the Fourteenth Amendment, 36 Const. Comment. 87, 91 (2021). This



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inspired the inclusion of Section 3 of the Fourteenth Amendment. Id. In the years

after the passage of the Fourteenth Amendment, Section 3 was relied on to

exclude both state and federal officials from office. Id. at 88 (explaining that

federal prosecutors brought action to oust half of the Tennessee Supreme Court);

id. at 110–11 (noting that the Senate refused to seat a member-elect, Zebulon

Vance, the wartime governor of North Carolina, on the grounds that he was

ineligible under Section 3). However, calls for amnesty quickly grew. Id. at 111–

12. “Until 1872, Congress relied on private bills to remove Section Three

disabilities from thousands of individuals.” Id. at 112. But the “sheer number of

personal amnesty requests soon overwhelmed Congress and led to calls for

general Section Three amnesty legislation.” Id. at 112–13 (noting that the

“momentum for amnesty was also in reaction to a white terror campaign in the

South”). After President Ulysses Grant endorsed amnesty legislation, id. at 116,

Congress began efforts to pass a bill, culminating in the 1872 Amnesty Act at

issue here. See Act of May 22, 1872, ch. 193, 17 Stat. 142 (1872).

      As is clear from the text, the 1872 Amnesty Act removed “[a]ll political

disabilities imposed” by Section 3 of the Fourteenth Amendment, subject to a

number of exceptions. See Act of May 22, 1872, ch. 193, 17 Stat. 142 (1872).

      Here, Plaintiff and Intervenors vigorously dispute whether the 1872 Act

was intended to provide amnesty (1) prospectively, that is, to all future office

holders who, having taken an oath to support the Constitution, engage in

insurrection or rebellion; or (2) retrospectively, that is, only to those who were


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disqualified under this provision at the time of the passage of the 1872 Act. Put

another way, Plaintiff contends that the language in the 1872 Amnesty Act

removing “all political disabilities” necessarily means “all past and all future

disabilities.” (Tr. at 60.) The Court is not persuaded.

      Plaintiff’s position is not supported by the text of the 1872 Act or

subsequent history. For one thing, the text of the statute contains no language

suggesting that it applies prospectively. For instance, it does not say that it

removes all future disabilities, disabilities that may be incurred, disabilities that

shall be incurred, or the like. Although Section 3 itself utilizes the future perfect

tense by applying its restriction to any individual who “shall have engaged in

insurrection or rebellion,” the 1872 Amnesty Act utilizes only the past tense

phrase that “all political disabilities imposed by the third section of the

fourteenth article . . . are hereby removed from all persons whomsoever . . . .”

Moreover, as Intervenors argue, it strains credulity for Plaintiff to argue that

Congress can “remove” something that does not yet exist.

      Notwithstanding these textual barriers, in an effort to support her reading,

Plaintiff points to a separate Amnesty Act that Congress passed in 1898, which

removed the political disabilities of individuals who were excluded from the 1872

Act, such as Senators and Representatives of the 36th and 37th Congresses. The

1898 Act simply stated, “the disability imposed by section three of the Fourteenth

Amendment to the Constitution of the United States heretofore incurred is

hereby removed.” See Act of June 6, 1898, ch. 389, 30 Stat. 432 (emphasis


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added). Based on that language contained in this separate statute that was passed

by a different Congress, Plaintiff’s counsel argued that one could infer that, in

1872, Congress must have intended for the 1872 Act to apply prospectively, solely

by virtue of the fact that Congress did not include the “heretofore incurred”

language that was later included in the 1898 Act.

       One federal district court, in Cawthorn v. Circosta, has accepted the

argument Plaintiff’s counsel is making here. No. 5:22-cv-00050, 2022 WL

738073 (E.D.N.C. Mar. 10, 2022) As the court noted in Cawthorn, the

congressional committee responsible for investigating then-Congressman Victor

Berger in 1919 analyzed Section 3 of the Fourteenth Amendment “in light of the

Amnesty Act of 1898” when it was determining whether to expel Berger from

Congress.22 Id. at *12. In Berger’s defense, he argued — just as Plaintiff argues

here — that he could not be disqualified by Section 3 because Section 3 had been

“entirely repealed” by the 1898 Act. Id. But as the congressional committee

responsible for investigating Berger observed, “Congress has no power whatever

to repeal a provision of the Constitution by a mere statute.” See 6 Clarence

Cannon,     Cannon’s     Precedents      of    the   House     of   Representatives      55

(1935), available       at     https://www.govinfo.gov/content/pkg/GPO-HPREC-

CANNONS-V6/pdf/GPO-HPREC-CANNONS-V6.pdf#page=75.                             And        the




22Berger was a Socialist member of Congress accused of providing aid to Germany during World
War I. See Jennifer K. Elsea, Cong. Rsch. Serv., LSB10569, The Insurrection Bar to Office:
Section 3 of the Fourteenth Amendment 2 (2021).


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committee further noted that Congress certainly did not have the power to

remove future disabilities:

      While under the provisions of section 3 of the fourteenth
      amendment Congress was given the power, by a two-thirds vote of
      each House, to remove disabilities incurred under this section,
      manifestly it could only remove disabilities incurred previously to
      the passage of the act, and Congress in the very nature of things
      would not have the power to remove any future disabilities.

Id. The Committee added that Congress “plainly recognized” it could not remove

disabilities prospectively by including the words “heretofore incurred’’ in the text

of the 1898 Act. Id.

      Though the court in Cawthorn apparently took the view that the inclusion

of the “heretofore incurred” language was the sole reason why the 1898 Act did

not apply prospectively, see 2022 WL 738073, at *12 (stating that “the court

agrees with the Berger committee that the 1898 Act, due to its ‘heretofore

incurred’ language, removed disabilities only as to those persons excepted

previously under the 1872 Act”), as the Berger Committee stated, the inclusion of

that language was merely a “recogni[tion]” of the fact that Congress “manifestly”

lacked the power to remove the disabilities imposed by Section 3 prospectively.

And if Congress lacked the power to remove disabilities prospectively in 1898, it

is equally true that it lacked the power to remove disabilities prospectively in

1872. To summarize, if the reading suggested by Plaintiff and the court in

Cawthorn were correct, the 1872 Amnesty Act would have both applied

prospectively to remove disabilities that did not yet exist and, together with the



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1898 Act, effectively repealed a constitutional provision by statute — both of

which, as the Berger Committee recognized, Congress cannot do.

      Plaintiff’s counsel claimed that his position was not that Section 3 of the

Fourteenth Amendment had been repealed but merely that Congress had

implemented the last clause of that provision by exercising its authority to

remove the disabilities imposed by that same provision into the future. This is at

best a semantic distinction. While Congress could certainly remove those

disabilities on an individualized basis — or even the disabilities of all individuals

who had already incurred disabilities, as it did through the 1898 Act — a blanket

exercise of that authority for all individuals past and future would effectively

erase Section 3’s requirements altogether, including the requirement that

Congress vote to remove those disabilities once they are actually incurred. By the

same token, accepting Cawthorn’s conclusion that “Section 3 can apply to no

current member of Congress” after the passage of the 1872 and 1898 Amnesty

Acts, would necessarily require one to accept the conclusion that Congress had

entirely repealed Section 3 of the Fourteenth Amendment through the mere

passage of two statutes. 2022 WL 738073, at *11. Suffice it to say, the Court is

skeptical. It seems much more likely that Congress intended for the 1872

Amnesty Act to apply only to individuals whose disabilities under Section 3 had

already been incurred, rather than to all insurrectionists who may incur

disabilities under that provision in the future.




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      This reading is supported not only by the text of the statute and the

practical limitations on Congress’s authority, but also by pure common sense. As

Intervenors’ counsel pointed out, it would make little sense for Congress to have

prohibited Jefferson Davis and other leaders of the Confederacy from serving in

Congress in 1872 while simultaneously granting blanket amnesty to all future

insurrectionists regardless of their rank or the severity of their misconduct. But

that is precisely the reading that Plaintiff asks this Court to adopt. The far more

plausible reading is that Congress’s grant of amnesty only applied to past

conduct. See Jennifer K. Elsea, Cong. Rsch. Serv., LSB10569, The Insurrection

Bar to Office: Section 3 of the Fourteenth Amendment 2 (2021) (“The Amnesty

Act appears to be retrospective and apparently would not apply to later

insurrections or treasonous acts.”).

      If there were any doubt, a close reading of past Supreme Court authority

demands the conclusion that Section 3 remains operative. In U.S. Term Limits,

Inc. v. Thornton — decided in 1995, long after the passage of the 1872 Act — the

Supreme Court referenced Section 3 of the Fourteenth Amendment as a basis for

disqualification that exists in the Constitution, along with other provisions,

stating that “[b]ecause those additional provisions are part of the text of the

Constitution, they have little bearing on whether Congress and the States may

add qualifications to those that appear in the Constitution.” 514 U.S. 779, 787 n.2

(1995). The Court declined to address whether this disqualification provision

could be read as a qualification, but in doing so plainly stated that Section 3


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remains an existing “part of the Constitution.” See also Powell v. McCormack,

395 U.S. 486, 520 n.41 (1969) (declining to reach the issue of whether Section 3 is

an additional qualification but acknowledging that “s 3 of the 14th Amendment

disqualifies ‘any person who having previously taken an oath . . . to support the

Constitution of the United States, shall have engaged in an insurrection or

rebellion against the same, or given aid or comfort to the enemies thereof’”).

Plaintiff’s interpretation that the 1872 Act removed Section 3’s disability

forevermore is at odds with the acknowledgments in U.S. Term Limits and

Powell. In other words, it is unlikely — even inconceivable — that the U.S. Term

Limits and Powell Courts would have referred to Section 3 as a disqualification if

it had been effectively repealed by the 1872 Amnesty Act.

      For all of these reasons — the plain text of the 1872 Act, the nature of

Congressional power vis-à-vis the Constitution, common sense, and the Supreme

Court’s recognition of Section 3 in cases after the passage of the 1872 Act — it is

apparent that the 1872 Act does not provide amnesty prospectively. Therefore, if

Defendants were to enforce the Challenge Statute against Plaintiff based on this

disability, Defendants would merely be enforcing an existing disqualification

within the text of the Constitution. The Court has no basis for concluding, as the

court did in Cawthorn, that the challenge proceeding violated federal law on the

ground that the State’s power to enforce Section 3 had been “rendered

ineffective” by the passage of the 1872 Amnesty Act. 2022 WL 738073, at *12.




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      In short, Section 3 of the Fourteenth Amendment is an existing

constitutional disqualification adopted in 1868 — similar to but distinct from the

Article I, Section 2 requirements that congressional candidates be at least 25

years of age, have been citizens of the United States for 7 years, and reside in the

states in which they seek to be elected. On the current record, it appears that the

Challenge Statute imposes minimal burdens through its process of ensuring that

only candidates who meet the Constitution’s minimum threshold requirements

appear on the ballot — including candidates who are not disqualified by Section 3

of the Fourteenth Amendment. And those minimal burdens are easily justified by

the important state regulatory interest in the orderly administration of elections.

The only burden on Plaintiff at this stage is her participation in an expedited,

streamlined administrative review process, in which the burden of proof has now

been placed on Intervenors, and an expedited appeals process, if sought. The

State’s interest in ensuring the integrity and efficiency of its election process is

sufficiently weighty to justify that relatively minimal burden. The Court therefore

finds that Plaintiff has not established a likelihood of success on the merits of

Counts I and II.

      B.    Plaintiff’s Claims Under Article I, Section 5 [Count III]

      The Court next considers whether Plaintiff is likely to succeed on the

merits of her separate contention that Georgia’s Challenge Statute violates Article

I, Section 5 of the U.S. Constitution. Plaintiff contends in Count III of her

Complaint that the Challenge Statute is unconstitutional because it usurps


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Congress’s constitutional powers under Article I, Section 5. (Compl. ¶¶ 68–71.)

Specifically, Plaintiff alleges that the Challenge Statute permits the State to make

a determination as to whether a candidate is constitutionally qualified to be

elected to the House of Representatives, and that this determination extends

beyond the bounds of the authority of the State to regulate its elections. (Id. ¶¶

68–69.) In response, Defendants rely on the constitutional authority granted to

the states under Article I, Section 4 to argue that the State has the authority to

regulate elections and determine whether a congressional candidate is qualified

and can therefore be placed on the ballot. (Defs.’ Opp’n at 22.) (“If states were

enjoined from disqualifying candidates for federal office prior to an election, then

there would be no legal process by which the state could prevent candidates who

fail to meet the constitutional requirements for Congress from accessing the

ballot.”) Intervenors make a similar argument but add that the State is well

within its authority to enforce existing constitutional requirements to “disqualify

constitutionally ineligible candidates.” (Intervenors’ Opp’n at 18.)

      The U.S. Constitution assigns responsibilities to both Congress and the

states with respect to the election of congressional candidates. Hutchinson v.

Miller, 797 F.2d 1279, 1284 (4th Cir. 1986) (acknowledging that the Constitution

“express[ly] delegat[es] to Congress and the states [] shared responsibility for the

legitimation of electoral outcomes”).    Article I, Section 4 of the Constitution

affords states the power to regulate the “Times, Places, and Manner” of electing

United States Senators and Representatives, but adds that “Congress may at any


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time by Law make or alter such Regulations, except as to the Places of chusing

Senators.” See U.S. Const. Art. I § 4, cl.1. At the same time, Article I, Section 5

empowers each house of Congress to act as “the Judge of the Elections, Returns

and Qualifications of its own Members.” See U.S. Const. Art. I § 5, cl. 1.

Historically, the states’ authority to regulate the “Times, Places, and Manner” of

elections under their Article I, Section 4 authority has been interpreted broadly.

In Roudebush v. Hartke, the Supreme Court reasserted the “bredth” of the states’

powers under Article I, Section 4, explaining that the “comprehensive words”

embraced in that Section provide a “complete code for congressional elections.”

405 U.S. 15, 24 (1972). The Roudebush Court further explained that this authority

extends:

      not only as to times and places, but in relation to notices,
      registration, supervision of voting, protection of voters, prevention of
      fraud and corrupt practices, counting of votes, duties of inspectors
      and canvassers, and making and publication of election returns; in
      short, to enact the numerous requirements as to procedure and
      safeguards which experience shows are necessary in order to enforce
      the fundamental right involved.

Id. at 24–25 (finding that Indiana’s recount procedures did not usurp power that

only the Senate could exercise, where recount did not prevent Senate from

independently evaluating the election, and also noting that the Senate was free to

accept or reject the apparent winner or conduct its own recount) (citing Smiley v.

Holm, 285 U.S. 355, 366 (1932)).

      Consistent with this broad power, federal appellate courts have held that

states have the power to exclude from the ballot constitutionally unqualified or


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ineligible candidates. In Hassan v. Colorado, then-judge Gorsuch wrote for the

Tenth Circuit, holding that Colorado had a legitimate interest in excluding the

plaintiff from the ballot because he was constitutionally prohibited from

assuming the office of President of the United States under Article II because he

was a naturalized citizen rather than a “natural born Citizen.” 495 F. App’x at

948. In so finding, the Hassan Court rejected the plaintiff’s argument that,

“[e]ven if Article II properly holds him ineligible to assume the office of

president,” it was still unlawful “for the state to deny him a place on the ballot.”

Id. (emphasis in original) The Court determined that “a state’s legitimate interest

in protecting the integrity and practical functioning of the political process

permits it to exclude from the ballot candidates who are constitutionally

prohibited from assuming office.” Id. Similarly, in Lindsay v. Bowen, the Ninth

Circuit held that California was authorized to exclude from the ballot a twenty-

seven-year-old who was constitutionally ineligible to become president because

of her age. 750 F.3d 1061, 1064 (9th Cir. 2014) (“[A] state has an interest, if not a

duty, to protect the integrity of its political processes from frivolous or fraudulent

candidacies.”) (quoting Bullock, 405 U.S. at 145).

      However, the Supreme Court has conclusively ruled that neither the states

nor Congress have the power to impose additional qualifications for

congressional membership that are not recognized in the Constitution’s text. See

U.S. Term Limits, 514 U.S. at 837–838 (“In the absence of a properly passed

constitutional amendment, allowing individual States to craft their own


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qualifications for Congress would thus erode the structure envisioned by the

Framers[.]”); Powell, 395 U.S. at 522, 540 (holding that Congress cannot alter or

add to the qualifications outlined in the Constitution and that qualifications

“could be altered only by a constitutional amendment”); see also Public Citizen,

Inc. v. Miller, 992 F.2d 1548 (11th Cir. 1993) (similar). That said, in U.S. Term

Limits, the Supreme Court held that the requirement imposed by Section 3 of the

Fourteenth Amendment became “part of the text of the Constitution” as a result

of a constitutional amendment and therefore does not constitute an additional or

unauthorized congressional membership qualification. 514 U.S. at 787, n.2.

Furthermore, the Supreme Court in U.S. Term Limits acknowledged that the

term “qualifications” may include more than what is outlined specifically in

Article I, Section 2, which establishes age, citizenship, and residency

requirements for members of the House of Representatives. See id. The Supreme

Court noted that Section 3 of the Fourteenth Amendment disqualifies any person

who, having previously taken an oath to support the Constitution, shall have

engaged in insurrection or rebellion against the same, or given aid or comfort to

the enemies thereof. Id. The Court then explained that it need not determine

whether this provision constituted a “qualification” for purposes of that specific

case before it. Id.

      Here, this Court concluded above in Section V.A.3. that the 1872 Amnesty

Act did not grant amnesty prospectively to all conceivable future insurrectionists.

Therefore, the 1872 Act did not invalidate Section 3 of the Fourteenth


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Amendment. The disability outlined in that provision of the Constitution remains

exactly that — a disability that disqualifies an individual who has engaged in acts

of insurrection in violation of their prior oath of office from running for or

holding office. In light of this finding, it is clear that, in complying with the

procedures set out in the Challenge Statute, the State of Georgia is not imposing

any additional qualifications on Plaintiff.23 Rather, it is enforcing an existing

provision enshrined in the Fourteenth Amendment, just as Colorado and

California did in Hassan and Lindsay when they enforced other constitutional

provisions.

       The Court recognizes that the circumstances here are not completely

analogous to those in Hassan and Lindsay. In each of those cases, the question of

whether the plaintiff met the requisite age and citizenship qualifications was

arguably more easily assessed and not in dispute. Nevertheless, both the Hassan

and Lindsay courts emphasized that, under Article 1, Section 4, states have a

significant interest in protecting the legitimacy and functioning of the political

process of elections. As demonstrated by those cases, this legitimate interest

includes enforcing existing constitutional requirements to ensure that candidates




23During oral argument Intervenors’ counsel argued that Plaintiff had waived the argument that
Defendants were adding additional qualifications for purposes of Count III by failing to include
that argument until her reply brief. The Court need not reach the issue of waiver given its
conclusion that Section 3 of the Fourteenth Amendment is an existing constitutional
qualification rather than an additional one.


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meet the threshold requirements for office and will therefore not be subsequently

disqualified, thereby causing the need for new elections.24

       In this case, Plaintiff has pointed to no authority holding that a state is

barred from evaluating whether a candidate meets the constitutional

requirements for office or enforcing such requirements. Indeed, as each house of

Congress may only act to judge the “Elections, Returns and Qualifications of its

own Members,” U.S. Const. Art. I § 5, cl. 1 (emphasis added), it is also not clear

that the current 117th Congress would be permitted to assess the qualifications of

a candidate, like Plaintiff, for the 118th Congress. If this is so, under Plaintiff’s

theory, neither the State nor Congress would be permitted to exclude a

constitutionally unqualified candidate from the ballot before the election. As

noted, such a result is at odds with the decisions in Hassan and Lindsay, which

recognized states’ interests in protecting the legitimacy of the political and

election process.        In addition, as Defendants argue, such an “unregulated

process” could “invite the possibility that fraudulent or unqualified candidates

such as minors, out-of-state residents, or foreign nationals could be elected to

Congress—and the state would be powerless to prevent it from happening.”

(Defs.’ Opp’n at 23.)



24
   Cf. Anderson, 460 U.S. at 788, n.9 (“We have upheld generally-applicable and evenhanded
restrictions that protect the integrity and reliability of the electoral process itself. The State has
the undoubted right to require candidates to make a preliminary showing of substantial support
in order to qualify for a place on the ballot, because it is both wasteful and confusing to
encumber the ballot with the names of frivolous candidates.”).



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      The parties devoted little time and few pages to the complicated questions

inspired by this novel situation. Given the preliminary stage of the proceedings,

the difficulty of the legal questions posed, and Plaintiff’s failure to cite persuasive

legal authority or even include a developed legal argument that the State of

Georgia lacks the authority to enforce an existing constitutional provision,

Plaintiff has not established a likelihood of success on the merits on Count III.

See Sampson v. All Am. Home Assistance Servs., Inc., No. 1:13-cv-495, 2013 WL

12322089, at *10 (N.D. Ga. Mar. 7, 2013) (“[C]ircumstances involving resolution

of relatively undeveloped body of law or novel factual settings make a

determination of success on the merits difficult to forecast[.]”) (quoting Treasure

Salvors, Inc. v. Unidentified Wrecked & Abandoned Sailing Vessel, 640 F.2d

560, 569–70 (5th Cir. 1981))); Cincinnati Bengals, Inc. v. Bergey, 453 F. Supp.

129, 145 (S.D. Ohio 1974) (“[W]here there are novel or complex issues of law or

fact that have not been resolved a preliminary injunction should be denied.”);

Miller v. Am. Tel. & Tel. Corp., 344 F. Supp. 344, 349 (E.D. Pa. 1972) (“There can

be no substantial likelihood of success, if there are complex issues of law and fact,

resolution of which is not free from doubt.”).

VI.   CONCLUSION

      This case involves a whirlpool of colliding constitutional interests of public

import. The novelty of the factual and historical posture of this case – especially

when assessed in the context of a preliminary injunction motion reviewed on a

fast track – has made resolution of the complex legal issues at stake here


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particularly demanding. The Court has thus carefully evaluated governing legal

precedent, the relevant historical record, the briefs and evidence submitted by the

parties, and the adequacy and efficient speed of the State of Georgia’s statutory

and administrative procedures for addressing election qualification challenges.

      As noted at the outset of this Order, “[a] preliminary injunction is an

extraordinary and drastic remedy not to be granted unless the movant clearly

established the ‘burden of persuasion’ as to each of the four prerequisites” for an

injunction. Siegel, 234 F.3d at 1176 (emphasis added). The Court has particularly

focused on whether Plaintiff has carried her burden of persuasion to establish a

strong likelihood of prevailing on the merits of her legal claims. Upon a thorough

analysis of each of the claims asserted in this case, the Court concludes that

Plaintiff has not carried her burden of persuasion with respect to this important

and essential prerequisite to Plaintiff’s demonstration of an entitlement to

injunctive relief. As the Court has found that Plaintiff fails to establish a

substantial likelihood of success on the merits, the Court need not further

address the three other prerequisites for injunctive relief. Church v. City of

Huntsville, 30 F.3d 1332, 1342 (11th Cir. 1994). Accordingly, the Court DENIES

Plaintiff’s Motion for Temporary Restraining Order and Motion for Preliminary

Injunctive Relief. [Docs. 4, 5.]




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IT IS SO ORDERED this 18th day of April, 2022.


                             ___________________________
                             AMY TOTENBERG
                             UNITED STATES DISTRICT JUDGE




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